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                   EXHIBIT 4
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                                           MATERIAL PURCHASE AGREEMENT
                                                         COVERSHEET




    Johnson & Johnson Consumer Companies, Inc., a New Jersey Corporation ("BUYER"), and Luzenac
    America, Inc., a Delaware corporation ("SELLER"), intending to be legally bound, hereby covenant and
    agree to purchase and sell, respectively, the Material, on the following terms and conditions:

    MATERIAL: The Material covered by this Agreement shall be the material (th~ "Material") set forth in
    Attachment A, attached hereto and incorporated herein by this reference.

    QUANTITY: During the Term of this Agreement, BUYER shall purchase from SELLER one hundred
    percent (100%) ofBUYER's and BUYER's Affiliates' collective talc requirements by purchasing the
    Material with respect to each of the locations listed in Attachment C (the "Facilities"). The percentage of
    BUYER's and BUYER's Affiliates' total requirements of the Material purchased from SELLER during the
    Term may be confirmed by SELLER as set forth in Attachment A. An "Affiliate" of BUYER shall mean
    any direct or indirect subsidiary of BUYER and any other person or entity controlled by, controlling or
    under common control of BUYER.                                                                         ·

    SELLER is not obligated to supply Material to BUYER (i) in any quarter in excess of 1/4 x the maximum
    annual quantity shown for such Material in Attachment A or (ii) in any month in excess of 1/12 x the
    maximum annual quantity shown for such Material in Attachment A.

    CONTRACT TERM: January 1, 2010 through December 31, 2011, subject to earlier termination as
    provided herein (the "Term").

    PRICE AND TERMS OF PAYMENT: The prices for the Material covered by this Agreement shall be as
    set forth in Attachment B, attached hereto and incorporated herein by this reference.

    DELIVERY TERMS: The delivery tenns for the Material shall be as set forth in Attachment C, attached
    hereto and incorporated herein by this reference.

    BUYER'S LOCATION AND DELIVERY POINT: The Material covered by this Agreement shall be
    delivered to the Facilities specified in Attachment C pursuant to the Shipment Schedule described therein.

    GENERAL TERMS AND CONDITIONS OF SALE: AGREEMENT: The General Terms and Conditions
    of Sale, attached hereto as Attachment D, are incorporated herein and made a part hereof by this reference.
    This Cover Sheet, the General Tenns and Conditions of Sale, as modified or expanded by the terms of this
    Cover Sheet (including all Attachments hereto), are collectively referred to herein as the "Agreement". The
    Agreement shall constitute the agreed terms and conditions upon which BUYER is obligated to purchase
    and SELLER is obligated to sell the Material. In the event BUYER uses its own order acknowledgment
    form or any other form to accept this Agreement, such fmm shall be used for convenience only and any
    terms and conditions contained therein which are inconsistent with or in addition to those contained in this
    Agreement shall be and are rejected and shall be and are of no force and effect whatsoever between the
    parties unless expressly assented to in writing by the SELLER.

    OTHER CONSIDERATIONS: BUYER will use commercially reasonable efforts to qualify SELLER's
    Australian ore as an alternate Material to be supplied under this Agreement by August 31, 2010.
    IN THE EVENT BUYER SUCCESSFULLY QUALIFIES AUSTRALIAN ORE:
    No later than August 31, 2010, BUYER and SELLER will discuss current costs and competitive pricing for
    such ore supply. Provided BUYER and SELLER can come to terms on acceptable pricing,
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    SELLER will provide solely the Australian ore to BUYER through December 31, 2011 beginning on a date
    to be agreed to between the parties, which date shall represent a reasonable date to allow the parties to
    begin supplying and taking supply of the Australian ore. If Buyer and SELLER cannot come to terms on
    pricing for Australian ore supply by August 31, 2010, either party may terminate this Agreement on 30 days
    written notice.
    IN THE EVENT BUYER DOES NOT SUCCESSFULLY QUALIFY AUSTRALIAN ORE:
    If BUYER is unable to qualify SELLER's Australian ore by August 31, 2010 due to the ore not meeting
    BUYER's specifications as provided on Attachment A, BUYER or SELLER may terminate this Agreement
    at any time upon written 30 days written notice. SELLER may in its sole discretion continue to supply
    Chinese ore at the applicable prices stated on Attachment B through December 31, 2010, at which time this
    Agreement will automatically terminate~

          IN WITNESS WHEREOF, the patties to this Agreement have executed the same as of the
    commencement date of the Term first above written.

    SELLER                                                       BUYER
    Luzenac America, Inc.                                        Johnson & Johnson Consumer Companies,
                                                                 Inc.




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                                                  Attachment A

                                         MATERIAL SPECIFICATIONS



                                                   Maximum
                                                   Purchase Quantity
    Material                Grade                  Metric Tons Per
                                                   Year
    Grade 25 Talc*         As perJ&J                        8,500
                           specification no.
                           RM-008967




    * Manufactured from Guangxi Chinese Ore. Alternatively, the Material may be SELLER'S Australian ore if
    the conditions in the "Other Considerations" Section of the Cover Sheet are met.

    SELLER will consider filling orders in excess of the maximum purchase quantity on a case by case basis.


                                       CONFIRMATION PROCEDURES


    BUYER shall keep full and complete records and books of account with respect to all purchases of Material
    covered by the Agreement for a period of four (4) years after the close of the calendar year to which such
    records and books of account pe1tain. The SELLER may, at any time or times during or after the Tenn of
    the Agreement, request an independent audit of such records and books of account for the sole purpose of
    verifying that the total amount of each Material required to be purchased by BUYER from SELLER
    pursuant to the tenns of the Agreement has been met. Any nationally recognized firm of independent
    certified public accountants designated by the SELLER and accepted by the BUYER shall, at any
    reasonable time or times and at the SELLER's expense, have the right to examine and audit such records
    and books of account maintained by the BUYER.




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                                                                       Attachment D

                                            GENERAL TERMS AND CONDITIONS OF SALE

       I. Price; Taxes and Customs Duties: Conditions of Payment. The price for the Material is as set forth on the face hereof. All prices are
      quoted, orders accepted, and billings rendered FCA Seller's facility and are exclusive of all federal, state and local excise, sales, use and
      similar taxes, and all import, export or customs duties, tariffs, or like charges, all of which shall be the responsibility of Buyer. Payment for
      Material shipped on approved credit is due net 30 days, or as stated on the face hereof, from date of invoice. Past due balances are subject to a late
      payment charge of 1.5% per month, or the maximum amount permitted by applicable law, whichever is less. Buyer shall pay all charges, costs and
      legal fees incurred in collecting amounts owed. Seller has the right to reschedule or cancel any order with Buyer if accounts are delinquent. If in the
     judgment of Seller the financial condition of Buyer at any time does not justify delivery upon the payment terms specified, Seller may require full
     or partial payment in advance.
             2. Deliveo: and Risk of Loss. All Material shall be delivered to Buyer as provided on the fu.ce hereof. Title shall pass to Buyer, and Buyer
     assumes all risk ofloss, from the time the Material is loaded by Seller onto railcar or truck for shipment to Buyer at Seller's facility. In the absence
     of specific written instructions, Seller may exercise in its discretion the method of shipment. Unless otherwise agreed by the parties in writing,
     Seller shall have the exclusive right to arrange and book all freight for the transportation of the Material to Buyer. Delivery dates are the dates the
     Material is shipped from Seller's facility. Buyer shall be responsible for payment of all freight and transportation charges from Seller's point of
     loading to the delivery address specified on the face hereof Delivery dates are approximate and are predicated on the prompt receipt by Seller of all
     necessary information and documentation from Buyer.
             3. Quantity. Actual weight ofindividual bags and other pacl..1Iging may vary due to variations in the manufacturing process and
     packing equipment tolerances. Any claim for shortage must be made in writing to Seller within 30 days after Buyer's receipt of the Material.
     Seller is not obligated to deliver in any month more than a proportionate part of the maximum quantity specified, determined by dividing
     such maximum quantity by the total number of months included in the period of performance. When, in the opinion of Seller, there is a
     period of shortage of supply of said Material for any reason, Seller may allocate its available supply among any or all of its various customers
     upon such basis as it shall deem fair and practicable, with no liability on its part for failure to deliver the quantity or any portion therein
     specified.
            4. Quality and Warranties. Seller warrants that (I) the Material meets both Seller's general, published specifications and any additional
     specifications set forth on the face hereof; (2) Seller has good and sufficient title to the Material; aod (3) the Material, as manufactured by Seller
     according to Seller's specifications, does not infringe any U.S. patent. Buyer has determined that Material with the quality characteristics
     conforming to such specifications will satisfy its contemplated use of the Material. Upon Buyer's request, Seller shall prepare for Buyer for each
     shipment of Material a certificate of analysis describing the quality characteristics of such shipment pursuant to the sampling procedures specified
     in Section 5. Buyer agrees that packaging material, wliich includes but is not limited to bags, supersacks, containers, shrink \\TBP, plastic wrap,
     dunnage bags and pallets ("Packaging Material"), shall only he used for shipment of Material from Seller to Buyer aud that such Packaging
     Material shall be disposed ofby Buyer in a manner that complies with all applicable laws. Material on pallets in transport or in storage must be
     stored on a flat, load-bearing surface and bound to prevent shifting of the load. Pallets are not suitable for and are not to be used for edge racking or
     stacking. Buyer acknowledges that Material and Packaging: Material must be protected from damage, moisture, excessive heat and ignition
     sources, and that personnel must be kept out oftlte path of any bags or pallets \\itich may full or shift during handling. Buyer assumes all risk of
     handling: the Material at the point of delivery and Buyer agrees to indemnify Seller for claims by it or by third parties arising from such handling.
            SELLER HEREBY EXPRESSLY DISCLAIMS (AND THEREFORE IS HEREBY EXCLUDED FROM THIS AGREEMENT)
    ANY OTHER WARRANTY, EXPRESS OR IMPLIED, AS TO THE l\fATERJAL AND PACKAGING MATERIAL, INCLUDING,
     BUT NOT LIMITED TO, ANY IMPLIED WARRANTY OF MERCHANTABILITY OR FITNESS FOR A PARTICULAR
     PURPOSE, SELLER SHALL NOT BE LIABLE FOR ANY DAMAGE, LOSS, COST OR EXPENSE, OR BREACH OF WARRANTY,
    EXCEPT AS Sl."f FORTH IN THIS SECTION 4. BUYER HEREBYWAIVES ALL CLAIMS FOR GENERAL, CONSEQUENTIAL,
    INCIDENTAL, OR SPECIAL DAMAGES AND AGREES THAT SELLER'S LIABILITY AND BUYER'S EXCLUSIVE REMEDY
    ARE EXPRESSLY LIMITED TO REPLACEMENT OF ANY l'IIATERIAL AND PACKAGING MATERIAL WHICH DOES NOT
    MEET THE WARRANTY SET FORTH IN THIS SECTION 4, AND SUCH LIABILITY SHALL INNO EVENT EXCEED THE
    PURCHASE PRICE FOR SUCH MATERIAL AND PACKAGING MATERIAL; PROVIDED THAT, NOTHING lN THIS
    PARAGRAPH SHALL BE DEEMED TO EXCLUDE OR Lll\fIT.AtW LIABILITY UNDER ANY APPLICABLE LAW OR STATUTE
    WHICH, UNDER SUCH LAW OR STATUTE, CANNOT BE EXCLUDED OR LIMITED.
            5. Sampling and Analysis. At the time lite Material is loaded or packaged by Seller, whichever is earlier, Seller, at its expense, shall sample
    the Material in accordance with its normal sampling procedures. The results of sampling and analysis by Seller shall be final and conclusive for all
    purposes. Buyer's sole and exclusive remedy in the event delivered Material does not meet the quality standards set forth in Section 4 shall be to
    coutact Seller and afford the Selier the opportunity to inspect and sample the Material. IfSeller agrees that the Material is noncouforming. Seller
    shall give instructions as to where to send the Material, at Seller's expense, and Buyer shall receive replacement Material in like quantities in lieu
    thereof. Rejection of such nonconforming Material shall be made not later titan thirty (30) days after receipt by Buyer.
            6. Defaults and Remedies. If Seller defaults in any of its obligations hereunder, Buyer's sole remedy shall be refusal of delivery of
    Material or termination of this Agreement on the tenns set forth below; if Buyer defaults in any of ils obligations hereunder, Seller's remedies
    shall include suspension of performance together with all other rights and remedies at law or in equity which Seller may have as a result of
    Buyers default. If, despite any default by Buyer, Seller elects to continue to make deliveries, its action shall not constitute a waiver of any
    default by Buyer or in any way affect Seller's legal remedies for any such default. If Buyer defaults under this Agreement and the matter is
    placed in the hauds ofan attorney for collection, or suit is brought at law or in equity to enforce the provisions herein, Buyer agrees to pay
    attorneys' fees together with costs in addition to the amounts due hereunder. Seller shall indemnify, defend and hold harmless Buyer from
    any and all liability, claims, judgments or damages relating to any claims that the Material, as manufactured by Seller according to Seller's
    published specifications, violates any U.S. patent. Buyer agrees to indemnify, defend and hold harmless Seller from any and all liability,
    claims,judgments or damages relating to claims of patent infringement due to Buyer's alteration, use, refonnulation or processing of the
    Material.
            7. Force Maieure. AH obligations of either party hereunder (except the payment of money) shall be suspended while, but only so long
    as and to the extent that, such party is prevented from complying with such obligations in whole or in part by acts of God or of the public
    enemy, strikes, lockouts and other labor disputes, fire, flood, accidents, epidemics, quarantine restrictions, freight embargoes, earthquake,
    unusually severe weather, acts of war, terrorism, insurrection or mob violence, unforeseen shutdo\\n or unavailability of major sources of supply,
    breakage ofmachinery or apparatus, laws, requirements, regulations or action of or the failure to act of any state, federal or local government, or


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     any other matters beyond the reasonable control of said party which cannot be overcome by said party by means normally employed in the
     performance of this Agreement, whether similar to the matters herein specifically enumerated or otherwise. In the event of Seller's inability due to
     any of the above circumstances to supply all of the Material provided for hereunder, Seller reserves the right to allocate its available supply of
     Material among its purchasers, or any of them, as Seller, in its sole discretion, elects without liability to Buyer for any failure of performance which
     may result therefrom. The party affected by force majeure shall promptly and timely notify the other of the existence thereof, the expected delays,
     and tlte estimated effect upon its performance hereunder.
            8. Product Safety and Product Stewardship Program. Buyer understands and acknowledges that as part of Seller's product stewardship
     program, Seller from time to time will issue notices regarding the safe use of Seller's products, including appropriate and inappropriate end
     uses of Seller's products. Seller has the right to refuse to sell Material to unlawful or inappropriate end-uses as determined by Seller. Buyer
     agrees to comply with such safety policies and end use restrictions in its use and sale of Seller's products. Buyer further agrees upon written
     request from Seller to confirm in writing that Buyer is complying with Seller's safety policies and end use restrictions. Jn no event shall
     Seller be responsible for any damage, irtjuryor loss occasioned by the misuse of Material or Buyer's negligence.
            9. Buyer as End User: No Assignment. Unless Buyer is duly authorized to distribute the Material pursuant to a written distribution
    agreement with Seller, it is agreed and understood that the Material is being purchased by Buyer for its internal use and, without the express
     written authorization of Seller, Buyer may not repackage, resell, or otherwise distribute the Material to third parties. Jn addition, Buyer shall
    have no right to assign or transfer (whether by operation, by law or otherwise) all or any part of its rights or obligations under this Agreement
    except with the prior written consent of the Seller and no delegation of any obligation of Buyer shall be made without the prior written
    consent of Seller; provided, however, that Buyer shall be permitted to assign this Agreement in its entirety in connection with a merger,
    consolidation, sale of all or substantially all of Buyer's assets or equity interests or similar business combination or reorganization involving
    Buyer and another corporation or entity. Any attempted assignment or delegation of Buyer shall be void and ineffective for all purposes
    unless made in conformity with this paragraph. This Agreement shall be binding upon and inure to the benefit of the parties hereto and their
    respective permitted successors and assigns.
            I 0. Compliance with Laws: Export. Both parties shall comply with all applicable laws and regulations. Buyer shall not sell, ship or
    allow trans-shipment ofany Material in any manner contrary to the export laws of the United States of America, including without limitation,
    to any prohibited individual, finn or entity appearing in Denied Party Lists published by the U.S. government, such as the list of Specially
    Designated Nationals published by the U.S. Department of Treasury OFAC, or to any country subject to economic or trade sanctions imposed
    by the U.S., except as otherwise authorized by U.S. law. Buyer shall also comply with all applicable laws and regulations of any destination
    country.
            11. Notices. Any notices, payments, or other information herein contemplated to be given, made or delivered to Seller or Buyer
    hereunder shall be sufficient if personally delivered, mailed, or sent by electronic facsimile at the address of such party set forth on the face
    hereofor to such other address as such party may from time to time designate to the other in writing.
            12. Incorporation By Reference. Terms appearing on the face hereof that in any way alter, condition or explain these General Terms
    and Conditions are incorporated herein by this reference. All terms so incorporated shall supersede any conflicting or contrary provision
    contained in these printed General Terms and Conditions.
           13. Entire Agreement: Intemretation: Amendment. This Agreement contains the entire agreement between the parties, and there are
    no oral understandings, representations or agreements relative to this Agreement which are not fuHy expressed herein. Any terms appearing
    on any Order or other form used by Buyer which would modify or conflict with the terms and conditions set forth herein are expressly
    rejected. Except for the purpose of negating implied warranties, no course of prior dealings between the parties and no usage of the trade shall be
    relevant to supplement or explain any term used in this Agreement. If any provision of this Agreement, or the application thereof to any person,
    place, or circumstance, shall be held by a court of competent jurisdiction to be invalid, unenforceable, or void, tlte remainder of this Agreement and
    such provisions as applied to other persons, places, and circumstances shall remain in full force and eflect No amendment, modification, or w.iiver
    of any provision of this Agreement shall be eftective unless in v.1iting and signed by the parties hereto.
           14. Governing Law. This Agreement shall be governed by the laws of the State of Colorado.
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                   EXHIBIT 5
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                                                   MATERIAL PURCHASE AGREEMENT
                                                                  COVERSHEET



          Johnson & Johnson Consumer Companies, Inc. a New Jersey Corporation ("BUYER"), and Luzenac America, Inc., a
          Delaware corporation ("SELLER''), intending to be legally bound, hereby covenant and agree to purchase and sell,
          respectively, the Material, on the following tem1s and conditions:

          MATERIAL: The Material covered by this Agreement shall be the material (the "Material") set forth in Attachment A,
          attached hereto and incorporated herein by this reference.

          QUANTITY: During the Term of this Agreement, BUYER shall purchase from SELLER one hundred percent (100%) of
          BUYER's talc requirements by purchasing the Material with respect to the location listed in Attachment C (the "Facility").
          The percentage ofBUYER's total requirements of the Material purchased from SELLER during the Term may be confirmed
          by SELLER as set forth in Attachment A. Notwithstanding the foregoing, SELLER acknowledges and agrees that during the
          Tenn BUYER may qualify alternate materials and shall be permitted to purchase qualification batches of material solely for
          the purposes of material qualification. SELLER is not obligated to supply Material to BUYER in any quarter in excess of 1/4
          x the maxinmm annual quantity shown for such Material in Attachment A

          CONTRACT TERM: January l, 2011 through December 31, 2011, unless extended through December 31, 2012 pursuant to
          the "Other Considerations" Section below (the 11 Tenn11 ).

          PRICE AND TERMS OF PAYMENT: The prices for the Material covered by this Agreement shall be as set forth in
          Attachment B. attached hereto and incorporated herein by this reference.

          DELIVERY TERMS: The delivery terms for the Material shall be as set forth in Attachment C, attached hereto and
          incorporated herein by this reference.

          BUYER'S LOCATION AND DELIVERY POINT: The Material covered by this Agreement shall be delivered to the Facility
          specified in Attachment C pursuant to the Shipment Schedule described therein.

          OTHER CONSIDERATIONS: BUYER will use commercially reasonable efforts to qualify SELLER's Australian ore as an
          alternate Material to be supplied under this Agreement by June 30, 2011. BUYER may shift such efforts to qualification of
          other ores (including third party sources) if BUYER reasonably determines after consultation with SELLER, that SELLER's
          Australian ore will not meet BUYER's specifications as provided on Attachment A.

          IN THE EVENT BUYER SUCCESSFULLY QUALIFIES AUSTRALIAN ORE:
          No later than June 30, 2011, BUYER and SELLER will discuss current costs and competitive pricing for such ore supply.
          Provided BUYER and SELLER can come to tem1s on acceptable pricing by June 30, 2011, SELLER will provide solely the
          Australian ore to BUYER through December 31, 2012 beginning on a date to be agreed to between the parties, which date shall
          represent a reasonable date to allow the parties to begin supplying and taking supply of the Australian ore. The supply of
          Australian ore shall be under the tenns and conditions of this Agreement as a written amendment hereto that incorporates the
          pricing tenns for the Australian ore as mutually agl'eed by the parties. If Buyer and SELLER cannot come to terms on pricing for
          Australian ore supply by June 30, 2011, SELLER agrees to supply Chinese ore through December 31, 2011, or until an alternate
          source is qualified, whichever is earlier, at which point the contract for supply will terminate unless otherwise agreed to in writing
          by the parties.

          IN THE EVENT BUYER DOES NOT SUCCESSFULLY QUALIFY AUSTRALIAN ORE:
          If BUYER is unable to qualify SELLER's Australian ore by June 30, 2011 due to the ore not meeting BUYER's specifications as
          provided on Attachment A, SELLER agrees to supply Chinese ore through December 31, 2011, or until an alternate source is
          qualified, whichever is earlier, at which point the contract for supply will terminate unless othenvise agreed to in writing by the
          parties.

          GENERAL TERMS AND CONDITIONS OF SALE: AGREEMENT: The General Tenns and Conditions ofSale, attached
          hereto as Attachment D, are incorporated herein and made a part hereof by this reference. This Cover Sheet, the General
          Terms and Conditions of Sale, as modified or expanded by the terms of this Cover Sheet (including all Attachments hereto),
          are collectively referred to herein as the "Agreement". The Agreement shall constitute the agreed tetms and conditions upon
          which BUYER is obligated to purchase and SELLER is obligated to sell the Material. In the event BUYER uses its own




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          order acknowledgment form or any other form to accept this Agreement, such form shall be used for convenience only and
          any terms and conditions contained therein which are inconsistent with or in addition to those contained in this Agreement
          shall be and are rejected and shall be and are ofno force and effect whatsoever between the parties unless expressly assented
          to in writing by the SELLER. For clarity, the parties acknowledge and agree that the Material Purchase Agreement between
          them, which was effective January l, 2010, was tenninated as of December 31,2010 and is no longer in force or effect.

                  IN WITNESS WHEREOF, the parties to this Agreement have executed the same as of the commencement date of
          the Term first above written.

          SELLER PRE APPROVAL
          Legal       [)(A.,.)
          Sales   ~-
          Marketlng.:QA
          cco         ~

          SELLER

          ~·2~
                                                                         BUYER
                                                                         Johnson & Johnson Consumer Companies, Inc.

          By~··

          Name:     Gary Goldberg

          Title         CEO




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                                                                Attachment A

                                                        MATERIAL SPECIFICATIONS



                                                                               Maximum Purchase Quantity Metric Tons
                                                                               Per Year
          Material                          Grade
          Grade 25 Talc*                    As perJ&J                                              5,500
                                            specification no.
                                            RM-008967, current
                                            revision



          "'Manufactured from Guangxi Chinese Ore. Alternatively, the Material may be SELLER's Australian ore if the conditions in
          the "Other Considerations" Section of the Cover Sheet are met.

          SELLER will consider filling orders in excess of the maximum purchase quantity on a case by case basis.


                                                      CONFIRMATION PROCEDURES


          BUYER shall keep full and complete records and books of account with respect to all purchases of Material covered by the
          Agreement for a period of one (1) year after the close of the calendar year to which such records and books of account
          pertain. The SELLER may, at any time or times dw-ing or after the Te1m of the Agreement, request an independent audit of
          such records and books of account for the sole purpose of verifying that the total amount of each Material required to be
          purchased by BUYER from SELLER pursuant to the tenns of the Agreement has been met. Any nationally recognized finn
          of independent certified public accountants designated by the SELLER and accepted by the BUYER shall, at any reasonable
          time or times and at the SELLER's expense, have the right to examine and audit such records and books of account
          maintained by the BUYER.




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•
                                                                                                             Attachment D
                                                                                             General Tem1s And Conditions Of Sale (2009)

              l. Prke: Taxes and Customs Duties; Conditions of Pll.YJllenl. The price for the Material is as             Seller elects to continue to make deli\<tries, its actioll shall not comtitutc a waiver of any default by
    set forth on the face hereof end shall be paid in the CU1Tency es set forth on the face hereof. All                  Buyer or in any way affect Seller's legal remtdie.s for any such default. IfBuycr defaults under this
    prices are q11oted, orders accepted and delivered, and billings rendered FCA Seller's facility                       Agreement and the matter Is placed in tho hands of en attorney for collection, or suit Is brought 81
    (Incoterms 2000) and are exclusfre of all federal, slate and local excise, sales, use, ,'lllue ad<kd,                Jaw or in equity to enforce tho provisions herein. Du)<tr agrees to pay reasonable attorneys' fees
    general servkes end similar ta.,,:es, and all import, export or customs dulie,,i, larifl!s, or bh charges, all of     together with costs in addition to the amounts due hereunder. Buyer shall indemnify, defend and
    which shall be !he Rspor>st'bility of Buyer. Pa}ntenl for Material shipped on appro\'\!11 credit is due net          hold harmless Seller for any third party claims brought against Seller based on the use of Materials
    30 days, or as $lated on the face hmof, from date ofinvoice. Past due balances are subject to a late                 by Buyer.
    pa)mcnt charge of 1.5¾ per month, or tho maximum amoont permitted by applicable law, \\bkhevcr is                             7. Force Majcure. All obligations of either party hereunder (except the payment of money)
    less. BU}<tr l!ball pay all charges, costs and legal fees incurred in collecting 8lll0Wlts o\\'td. Seller has tlie    shall b¢ suspended wbile, but only so long as and to tho extent that, such party is pre,,:nted from
    right to reschedule oc cancel any order \\ilh Buyer if accoWlts arc delinquent. If in the judgment of Seller          complying with such obligations in whole or in part by acts of God or of the public enemy, &tn'kes,
    the fmandal conditioo ofBuyer at any time does not jll51ify delimy upon the pa)menl tmns specified,                  )o,;kouts and other labor disputes, tire, flood, accidents, epidemics, quarantine restrictions, freight
    Seller may amend SU(h payment terms or require full or partial payment in ad,-ance. For e.~ sales.                   embargoes, eerthqualce, tlllusually se\-ere weather, act, of war, terrorism, ln.smrectioo or mob violence,
    Seller, in its sole discretion, may require Buyer, at its cost and expense, to obtain an irmucable 5tandby           unforeseen sbut&mn or una\'ailability of major sourca of supply, breakage ofmacllinery or appara!US,
    letter of credit in fa,'OC of Selleris.sued or confinned by a U.S. bank acceptable to Seller, in a form               laws, requirements, regulations or action ofor the failure to act ofany state, federal or local gi»-enunent,
    ac«plable lo SeUer, and in an amowtt acceptable to Seller; and Seller shall ha,-e the right to draw against          or any other matte!\! beyond thilrea.1onablo control ofsaidpartywhichcmnotbe O\en:ome by said party
    all or 81\Y portion ofthe letter of credit amount on sight.                                                          by means nonnally employed in the perfunnance of this Ag!ffll!ent, \\itether sbnilar to die mattets hci:cin
              2. Dellyezy and Risk ofl oss. Title shall pass to Bu)'er, and Buyer assumes all risk of loss, ftOIII       specifically enumerated or othct\\ise. In the 11\ent of Seller's inability due lo any of the aho,-e
    the time the Material is loaded by Sellcrootoraikac orllmkforshipment to Buyer at Seller's mcility.Jn                circUDl51llllCes to supply ell ofthe Material pro,idcdforhmuoder, Scllcrrescn<ts the right to rulocale its
    the absen(e of specific "litten instructions, Seller may exercise in its discretion the method of shipment.           available supply ofMaterial among its purchasers, or any oftbcm, as Setler, in its sole discmion, cl«ts
    Unless Olhemise agreed by the parties in writing, Seller sballba,-e tho exdusi\'e right to arrange and                v.ilhout liability to Buyer for any fuDtm: ofperfonnance which may result therefrom. The party atTected
    hook all &eight for tho transportation ofthe Material to Bll}<tr. Deli\'ecy dates ll1'0 the dates the Material       by force majeure shall promptly and timely notify the other ofthe existence thereof; the cxpeded delays,
    is shipped from Seller's f~ility. Bll)'tr shall be ~1,lc for payment ofall hight and transpolflltion                 and the estimated etTect upon its perf01Jl1311Ce hcreundtr.
    cbacges fmm Sdler's point of loading to the delil'ciy address specified by B11)'tr. Deli\-eiy dates are                       8. Prod11Ct Safety and Product Steward$hip Pm8\'.iffl- Buyer understands and acknowledges
    approximate end are predicated on !he prompt receipt by Seller of all ncccssaiy infonnation end                       that as part of Seller's product stewardship program, Seller from time to time will issue notices
    docwl!enlation from Duyer.                                                                                           regarding the safe use of Seller's products, Including appropriate Md inappropriate end uses of
              3. Quan.lib:. Actual weiglit of Individual bags and otherpaekaging may vary due to variations              Seller's products. Seller has the right to refuse to sell Material to unlawful or inappropriate eruf.uses
    in the manullicturing process and pael.ing equipment tolmmces. Any claim for shortage must be                        as detennined by Seller. Bll}-er agrees to comply ,~ith such safety policies and end use restrictions in
    made in vniting to Seller 'l\ithin 30 days after Buyers receipt of the Material. If s~cified on the                  its use and sale of Seller's products. Buyer further agrees upon 1'ritten request from Seller to confirm
    :filee hereof, or on any Cover Sheet or contract into which these General Tenns are incorporated,                    in writing that B11}-er is complying with Seller's safety policies and end use restrictions. In no ewnt
    Seller is not obligated to dclh-er in any month more than a proportionate part of the maxinmm                        shall Seller be responsible for any damage, injwy or loss occasioned by the misuse ofMaterial or
    quantity1pecilied, deteanincd by dividing such ma.ximun1 quantity bylhe total number ofmonths                        Bll}<tr's negligence.
    included in the period of pcrfollllance. When, in the opinion of Seller, there is a period of shortage of                     9. Buyer as End User: No Assignment. Unless Buyer is duly authorized to distn"bute the
    supply of said Material for any reason, Seller may all<Xate its available 5U]lply among any or all of                Material pursuant to a \\Tilten distribution agreement with Siltier, the Material is being purchased by
    its ,'llrions customers upon such basis as it shall deem fair and practicable, "ith no liability on its              Duyer for its internal use and, »ithout the express mitten authorization of Seller, Bu)-er may not
    part for failure to delh·er the quantity or any portion therein specified.                                           repackage, resell, or othemiso distribute the Material to third parties. In addition, Buyer shall have
              4. Quality and Warrantjcs. Seller warrants that (l) when shipped, the Material meets both                  no right to assign or transfer (whether by operation, by Jaw or otherwise) all or any part of its rights
    Seller's general, published specifications and any additional Sll«'ifications set fu<th on the face hereof or        or obligations under this Agreement except \\ith the prior written consent of the Seller. and no
    OJ1 any Co\-er Sheet or contract into which these General Tenns are incorporated: (2) Seller bas good                dclcgati0t1 of any obligation of Buyer shell be made without the prior 'I\Titlcn consent of Seller. Any
    and si1ffident title to the Material; and {3) the Material, as manufilctmd by Seller according to Seller's           attempted assignment or delegation ofBU)-er shall be ,-oid and ineffective for all purposes unless
    specifications, doe$ not lnltinge any U.S. patent. Bu)w has determiMd that Material with !he quality                 made in conformity \\ith this paragrapli. This Agrtcment shall be binding upon and inure to the
    clwactoisties conforming lo such specifications 1\ill satisfy its contemplated use oftho Material. Upon              benefit ofthe parties hereto and their respecli\-e permitted successors and assigns.
    IlU}-cr's request, Seller shall prepare for BU}'tr for each shipment ofMaterial a cmilkate ofanalysis                         10. Qomp)jance wjth J&ws· Ewrt. Both parties shall comply with all applicable laws and
    desertbing the quality characteristics of such shipment i>=uant to Ibo sampling proced= specified ln                 regulations in connection with their perlbnnance here1111der. Buyer shall not sell, ship, import.
     Section 5. Buyer asrees that packaging material, including pallets ("Packaging Material") shall only be             export. re-export or allow trans-shipment of any Material in any manner contnuy to any applicable
    used for shiprncot of Material from Seller to Bu)w and llmt such Packaging Material shall be dispo.ed of             e>.'J)Orl laws, including \\id10ut limitation, to any prohibited indMdual, funt or entity appearing in
     by Buyer in a manner that co,nplies with sit applicable laws. Material on pallets in lnlnsport or in                Denied Party Lists published by the U.S. govemment, such as the list of Specially Designated
     storage must be stattd on a flat, load--bearing Slllface Md bound to pre,fflt shilling of the load. Pallets         Nationals published by the U.S. Department of Treasury OFAC, or to any counliy S11bject to
     are not suitable for and ere not to be used for edge racking or slacking. Buyer adlnowlwges that                    economic or trade sanctions .imposed by the U.S., except as otllffl\ise authorized by U.S. law.
    Material and Packaging Material must be protected from damage, moisture, excessn-e heat and ignition                 Buyer shall also comply with all applicable laws and regulations of any destination counby. Duyer
     soarc•s, and that persoond must be kept out ofthe path ofany bags or pallets \\-hicb may fall or 5liift             sball lndemnily, defend and hold harmless Setler from and against any bteacli by Buyer of its
     during handling. Buyer assumes all risk ofhandling the Material at lhe point ofdeli\'CI)· and B11}-er 8l!l«S        obligations under this paragraph.
     to indemnily Sillier for claims by it or by third perties arising from such handling.                                        11. Notices. Any notices, payments, or other infonuation herein contemplated to be gi\-en,
              SELLER HEREBY EXPRESSLY DISCLAli\(S (AND THEREFORE IS HEREBY                                               made or deliwred to Seller or Buyer hereunder shall be sufficient ifpersonally deli'lered, mailed, or
     EXCLUDED FROM TIUS AGREEMENT) ANY OTHER WARRANTY, EXPRESS OR                                                        sent by electronic mcsimi[e at the address of such party set forth on the face hereof or to such other
     IMPLIED, AS TO THE MATERIAL AND PACKAGING MATERIAL, INCLUDING, Btrr                                                 adcmss as sucll party may from time to time designate to the other in writing.
     NOT LIMITED TO, ANY IMPLIED WARRANTY OF MERCHM'TABILlTl' OR                                                                  12. lnrgrporatjon By RefCWJCe. Terms appearing on the face hereof, or on any co,..:r sheet
     FITNESS FOR A PARTICULAR PURPOSE. SELLER SHALL NOT BE LIABLE FOR                                                    or contract into which these General Terms and Conditions are incotp0rated, that in any way alter,
     AN\' DAMAGE, LOSS, COST OREXPEi\'SE, OR BREACH OF WARRM'IY, EXCEPT AS                                               condition or e:o.-plain these General Tenns and Conditions arc incorporated herein by this reference.
     SE'f FORTH INTms SECTION 4. BUY.ER.HEREBY WAIVES ALL CLAIMS FOR                                                     All terms so incorporated shall supersede any conflicting or contraty pro\islon contained in these
     INDIRECT, CONSEQUENTIAL, IN'CIDL\TAL, PUNITIVE, OR SPECIAL DAMAGES,                                                 printed General Terms and Conditions.
     INCLUDING, WITHOUT Lli\llATION, LOSS OF PROFITS, DOWNTIME COSTS. OR                                                          13. J!ntire Agreement· lil)emretation; Amendment. Unless the parties ha,-o entered into a
     COSTS OF SUBSTITUTE GOODS, AND AGREES THAT SELLER'S TOTAL LIABILITI',                                               written contrad that is intended to supersede these Gen•ral Terms and Conditions, these General
     AND BUYER'S EXCLUSIVE REMEDY, ARE EXPRESSLY LIMITED TO REPLACEMENT                                                  Terms and Conditions, together with any tenns appearing on the :filce hereof or on any co\-er sheet or
     OF AN\' l\lATERIAL AND PACKAGING MATERIAL WHICH DOES NOT MEET THE                                                   contract Into "ilich these Oeneral Tenos and Conditions are incorporated, contain the entire
     WARRANTY SET FORTH IN THIS SECTlON 4. INNO EVENT SHALL SELLER'S                                                     agreement between the parties, and there rue no oral unders!andings, repre~ntations or agreements
     AGGREGATE LIABILITY HEREUNDER, WHETHER FOR CLAIMS IN CONTRACT,                                                      relative to thi$ Agreement which are not fully el<J)ressed herein. Any tcnns appearing on any Ordet
     TORT OR OTHERWISE, E.XCEEDTHE PURCHASE PRICE PAID FOR THE MATERIAL                                                  or other Conn used by B11},:r which \\'Ould modify or conflict with the lenns and conditions set forth
     AND PACKAGING MATERIAL; PROVIDED THAT, NOTHING IN THIS PARAGRAPH                                                    herein are expressly rejected, and Buyer hereby specifically accepts any terms contained herein that
     SHALL BEDEEIHED TO EXCLUDE ORLl"11T ANY LlADILlTY UNDERANY                                                          are different or additional to those contained in any sucll Order. EKcept for the paipose ofnegating
     APPLICABLELAWORSTATUTEWHICH,UNDERSUCHLAWORSTATI.JTE,CANNOT                                                          implied warranties, no cowse ofprior dealings between the parties and no =ge of the trade shall be
     BE E..XCLUDED OR LThlITED.                                                                                          relevant to wpplement or explain any tenn used in this Agreement. If any pro'1Sion ofthis Aglfflllent, or
               5. Samp]jng and Analysis. At the time tho Material is loaded or packaged by Seller, whichever             the application them>fto any pefSOD, place, or circumslarKe, shall be held by a court of competent
     is earlier, Seller. at its expense, shall sample the Material in accoidance \\ith its normal sampling               jurisdiction to be lm'lllid, unenforceable, or wid, the remainder of this Agreement and such pro\-isions as
     procedures. The 1CSUlts of sampling and analysis by Seffer shall be final and conclusive for all pwposes.           applied to other pet300S, places, and c ~ shall remain in full fame and effect. No amendment,
     In tlie e\-ent ddi\m,d Material does not meet the quality standards set fonh in Section 4, Buyer shall              modification, or wai\-er ofany pro,ision of this Agreement shall be effecli\-e Ullless in \\nfing and signed
     prompdy contact Seller and aftbrd the Sellor the opportunity to inspect and sample the Material. If Sillier         by the parties hereto. English sl,all be the (!<»-eming language hereo£
     agrees that the Material is nonconfooning, Seller shall give instructions as to \\bere to send the Material,                  14. Goyeroing Law and Dispute Resolution. This Agreement shall be go,<tmed by the laws
     at Seller's expense, and Buyer shall recei-\-e ~ n t Material in like quantities in lieu theROf.                    of the State of Colorado, "\\ithout regard lo its conructs oflaws. The parties hereby exclude from
     Rejection of such noncoof'onning Material shall be made not later than thirty (30) days after receipt               any application to the purchase and sale of the Material the United Nations Coo\'ention on Contracts
     by Buyer.                                                                                                           for the International Sale of Goods 1980 (Vienna Convention). Any disputes arising out of or in
               6. Defaults and Remedies IfBuyer defuults in any ofits obligations hereunder, Seller's                    connedion with this Agreement shall be finally settled by binding aibitration under the Commercial
     remedies shall include suspension ofperfonnance together with all other rights and remedies at law                  Arbitration Rules of the American Arbitrati0t1 Association (:'MA'1 in effect on the date hereof
     or in equilywhich Seller may ha\'e as a result ofBuyers default. If, despite any default by Buyer.                  (the "Rules"), except as such Rules are modified herein. Aroitration shall be conducted inDe-n\<tr,




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Colorado end shall be in English. The arbitration shall be before a single arbitrator mllfually agreed
from a 11,1 providt-d by the AAA; prot1tied if Seller 1111d Buyer fail to agree on an arbitrator "l'ithin 30
days after tho claim for arbitratio11 is made, then the arbitrator shall be selected by the AAA. Nol
Jess tl11111 30 days prior to the arbitration, each party wm submit to the other party the documents, in
Englisl1, and a IJst of witnesses it intends to use in the arbitration. Jo any arbitration proceeding, ·
each party will ha--e lhe opportunity 10 exarniJle its \\itnesses and to ~oss•examlne the witnesses of
!he other party. The arbitrator shall ilSuo a written opinion stating the findings of fact and the
conclusions oflaw on which tho decision is based The decision of the arbi!rator shall be final and
binding, and may bo enforced in any comt of competent jurisdiction. Each party to the arbitration
shall~ its ttspective costs in the preparation and presentation of the dispute, and shall bear
equally in the adm.inis!rative costs of the arbitration.




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                          Amendment to Supply Agreement


           This Amendment (the "Amendment") is made as of the 1st day of April
    2004, to the Supply Agreement dated 15th April 2001 ("Supply Agreement"), by
    and between Johnson & Johnson Consumer Companies, Inc. and Luzenac
    America, Inc.

           WHEREAS, Seller has notified Buyer of the intent to cease manufacturing
    operations of the Products in West Windsor, Vermont, and Buyer has agreed to
    qualify new product ("New Product") from Seller's manufacturing operations
    located in Houston, Texas

           NOW THEREFORE, for good and valuable consideration, the receipt of
    which is hereby acknowledged, the parties hereto agree to amend the Supply
    Agreement as follows:

       1. Except as specifically provided for in this Amendment, all other terms and
          conditions of the Agreement shall continue in full force and effect. All
          defined terms not otherwise defined in this Amendment shall have the
          meaning set out in the Agreement.

       2. New Product is to be substituted for "Products" in all cases throughout the
          Supply Agreement.

       3. Annex A is amended and restated as set out on the attached Annex A to
          this Amendment. In addition, the parties agree that all New Product shall
          be supplied by Seller solely from the facility specified on the attached
          Annex A.

       4. Annex B, Section A, is hereby amended and restated as follows:

                     i. Olympic H Talc US$368 PER METRIC TON effective
                        through December 31, 2006

                    ii. Price decreases to US$348 PER METRIC TON effective
                        January 1, 2007 through December 31, 2007

                    iii. Price decreases to US$338 PER METRIC TON effective
                         January 1, 2008 and beyond.




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                                                                     ,-
                    iv. All prices are FOB delivered to Buyer in Royston, Georgia
                        via Bulk Rail

                     v. Pricing from Seller can only be altered should raw material
                        increases or freight increases exceed 3% in any given year.
                        Raw materials include talc, energy costs, packaging, and
                        pallets. Transportation increases include freight from
                        Houston, Texas to Royston, Georgia as well as freight from
                        China to Houston. In the event any such increases exceed
                        3% in a particular year, the prices for the New Product shall
                        be adjusted proportionately upward for the next calendar
                        year to the extent necessary to reflect the amount of the
                        increase which is in excess of 3%. All material or freight
                        increase requests must be substantiated by documentation
                        of increase from increasing party.

       5. Annex B, Section B, is hereby deleted in its entirety.

       6. Section 1( c) is hereby deleted in its entirety.


       7. Section 1(d) is amended from F.O.B. Ludlow, Vermont (the "Shipping
          Point"), to F.O.B. Royston, Georgia (the "Delivery Point"). The risk of loss
          with respect to the New Product shall now pass to Buyer upon receipt and
          acceptance at the Delivery Point.

       8. Section 3 (3) is amended from " ... Seller shall maintain an adequate
          number of dedicated silos to ensure timely shipment", to read "... Seller
          shall maintain an adequate number of dedicated silos and rail cars to
          ensure timely shipment".

       9. Section 3 (d) is amended from " ... Agreement, provided, however, ... " to
          read " ... Agreement. In such event Seller shall, at Buyer's request, make
          available such dedicated rail cars as may be sufficient to obtain New
          Product from such other source."

       10.Section 4 (c) is amended to delete clause (iii) in its entirety.

       11. Section 7 (a) (ii) is amended from "shall be limited to replacement. ...
           Sections 4 (c) above" to "shall be limited to replacement of New Product".

       12. Section 8 (a) is amended in its entirety to read "This Agreement shall
           expire and terminate effective December 31, 2006, unless sooner
           terminated pursuant to the other provisions of this Agreement."


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       13. Section 22 (b) is amended to read "Contract Year shall mean, for any
           period of time after the date of this Amendment, the twelve-month period
           commencing on April 1st of any year during the term of this Agreement and
           concluding on March 31st of the next succeeding year


       14. Section 23 (a) is amended to read "Seller will assume the leasehold
           interest of Buyer for the equipment specified on the attached Annex B (the
           "Equipment") pursuant to the Transfer Agreement in the form set out on
           the attached Annex C. Upon execution of the Transfer Agreement, Buyer
           shall have no further ownership or leasehold interest of any nature in the
           Equipment, and all right, title and interest in the Equipment shall transfer
           to Seller.

       15. Section 23(b) is amended to remove clause (iii) thereof.

       16. Section 23(c) is amended to remove clauses (ii) and (iv) thereof.

       17.Section 23 (e) is amended to read "Buyer shall be responsible for training
          its employees to operate properly the Equipment and shall supervise all
          operations thereof. Buyer shall be responsible for all personal damages
          or injuries and for any damage to property or Equipment resulting from (i)
          Buyer's operation of the Equipment, or (ii) Buyer's use of the Equipment
          for any purpose other than as specifically contemplated by this
          Agreement.

       18. Section 23(f) is hereby deleted in its entirety.

    IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be
    executed by their duly authorized representatives as of the day and year first ·
    above written.

    LUZENAC AMERICA, INC. ·                    JOHNSON & JOHNSON
                                               CONSUMER COMPANIES, INC.

                                               BY:D~
                                               Name: Q frJ,"ch:,,:{ Wi-lfr11qr1
                                               Title: v'P of Dt>er,d,()I\~
                                                                 l




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         THIS AGREEMENT is made this sixth day of January, 1989 (tbe
  "Agreement") by and between Cyprus Mines Corporation, a Delaware
 corporation        (''Cyprus!'),                   and .Johns.on        &.     Jottnso1l,.     ·'3,·    New    Jersey
 c:orporation. { "J             &   J~' ) •




        WBERW¥S,           Jf       &   .J    is th~ own$:r :of all of                        the . i$$U8~         and
 qu1:!:itc;tnding shat~s                of    the    cap.i.tal    s,to¢!(' of Windsor          M.tneriais Inc.,
 a   Vermont     c:orporation                       ( 11 Wind$9r 0 )fwhiqll        c~pital              st¢ck    shall
 hereinafter be r.eferred to as ,t.lle1 "Wl~<i!S:J<l!!1'> S•i;:Qc~~•J;

        wa.EREAS;      Windsor                 is the owne,r           of. all. of the issue~ and
 o.µtstanding s.har.es Of the capital stdck of Western source                                                  Inc.,    a

 California      corporation                        ( 11 Wesrtern 1' l (which      capd,J;al            stock shall
 hereinafter be referred to as the "Western Stock 11 } ;

        WI!E:REAS, - J              &    J    desires        to    sell atid delivet a.11. o.f the
 Windsor     Stock          to          Cyprus,        and Cyprus- desii:-es             to pur¢hase               a..nd
 receive all of said Windsor stock from J                                     &   J, upon ch$              terms and,
 coµdit.:lons provided herein~ and
        WH.EREAS,      J        & J'     and Cypnis desire to enter into a Talc Supply
 Agreement      ( as        such             term      is   defined      in       Section         8 ~s     hereof),
 w.herein Windsor agtees to sell and delivet"., and. J & J agteel:;l                                                   to
 purchase and receive, .talc pursuant to the terms and conditions
 set forth in the Talc Supply Agreement.


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  ·c;yprus     has     no      reason               t:o belj.;;eye that                  .ttre   Master           Trust            {tthe

  ''CyJ;>rUs Master Trust .. ) main<tain.ed                                   under it:h.e A~:teement qf M2'.sl:$J'
  Trust between Cyprus Minerals Company an.d·Bo.ston Siife Deposit and
  Trust       Company         dated              August          1,       1988      is      not      exempt          from           tax

  p11rsuan:t; to se,fZt~.<:>n .../$00;~/{,j:r.) ~;tc :1;l\er.: ~~pe •. jj~j:;c,:~:~:!)tU\S' :!;t,ast.er
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                     s.•·1      A-$~~-~~ll:;,:~.j.,,,,.~Us~:t;$:~u~·,.,                           e,n-.• :t-ne sett.l.ant~nt:
  D~,t~:,     Cyp.rus           ~J<. $:ij}•i~~k•< "'~jij.!if~{} -,.~~i\, i~~i:H•··, ~j~:$:t~~:-• liiJ,~,;/l;a:p,'.(l~•
                             ~-~¢1>   :;i,.11
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  Sheet.       All    liabilit¥t~• -~~t~,t,~~~§~ :t.~ r.~aiw.:w1.:t:.~ff i.                    l:l•~ r.~unt&~.1;          1




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  snail ,piromJ?t-l.y ,f~~f,>~ttj,.- :f~il~~~i ~~/ -i,,$;.!y;~ii~J1t:bt.tt:es: ia·s they
  become due.           Except as: ·Qt'h~tw?.t·s;;$,;,'$et ·f-~rtiij,, J:_!) h:bi-$                      ;Aqt$~m.e,nt;              ~11

  othe,r      l.j,abilitiies           o·f• :t:Wf}r~,,Q.t' "t~nd                W~$i4~'t~        $1:ti;Il.l.. _:r-~meli:p,         with
  Wi'ndsor and. Western ftiOm                        a.nd. ai,t~· ths Gllo$ing.


                     5.2        Windf5o;r.- and W@$#,:e.rri Qp:ttgatJ. qn,s.                                    Prior to the
 ' t:l-oslng D!=lt.~,. J        & J             ,sli,a;I.], ¢.~\;1:$@0 •~;A4s¢r fl"!.lP., wes:ter:n. tq perfornr

  the obligations of Windsor am.ft Western ne,reunder, and shall be

  sol~ly reseonsible and liable IJ.§!_'r each E·~:E:ElJ.=:sent,atJJ?B, ma,,4€::r en4
  each      warrant:Y gtante:er, by Wiht.is'p,t and                                we'.ster.n,       El.S· -Le: j        .&   J'   h~d




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               5. 3     Due     and    Uncollected          Receivables;        Petty       Cash.
  Accounts and notes receivable of Windsor and Western whic,h are
  more than one hundred and eighty (180) days old as of the Closing
  Date shall become the responsibility of J&J and shall be removed
  from the Closing Balance Sheet.                    Accounts and notes receivable
  that are current on the Closing Date, btit which become due and
  uncollected aEter one hundred and eighty (.1.80) days following the

 Closing     Date,    sn.all    be    sold. to       J&J    fo:t-   cash at     face     Va.lue;
 provided that such . amounts exceed Five Thousa.nd bollars ($5,000}
  irt the aggregate.           Accounts r;e;c.eivable owe¢! from affilia.tes of
 J&J to Windsor        s'hetTl be lrtcllade·a .f n• the Closing Balance Sheet.
 Petty cash aqeouribs exist:±:I:ig a.t. the ope,ratiort·s of Winds.or ai1.d
 Western shall be included in the Closing E3alance, Sheet.


               5. 4     Gt,;a~ge . elf· ~¢,~$h'i.e~          Wi:t.fu:in .thirty     ( 30)    days

 following     the     Closing        Dale,     Cyprus        sh.al,1    take     all       st~ps
  reasonably       necessary     ta   nqtify     the       cus:tomers .of       Windsor       ~rid
 Western of the change in ownership of Windsor and Western.


               5. 5     Corpoi;ate      :Record$..           At      closing,     J&J       shall

 provide     Cyprus    with all of the· origir,.al corporate records of
 Windsor and Western.


               5.6      Employee       Matters.             ( a)     Cyprus     agrees       that

 Windsor     and    Western will       accept        on    the      Closing   all    salarieq
 employees employed by Windsor or West·ern respectively upon the
 Closing, in the positions held immediately prior to the Closing,
 on terms and conditions of employment,                      including benefit plans,

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                           which                                      will    be                   consiste-r1t                                                              W:'it:t1                  the                               tei:,trts                 a,no.                conditions                                        oe
                           e111ploymen..t'                                   of. C:yprus                                                                          $:~l:.;u:<:ti(:!d:              emp.loyee.s,                                                    wh:ich                                 the                      ·J?ar.tie,s
                          understand                                         to          be                              such                                         te.rms. .and -c0rial,tioti.:s :as                                                                                       Cypru,s_                               de.:~tn$


                          Closing .all hourly empld:¥•1?~S .employed by W:d.t1<d$or on the Closing
                           in the pc)'.sd.£.,i,ons held jrttime~'filat,ih:ely prior t-o, Ci:os:ing, on the th.en

                          cur~ent . . _,>t,e1#At~ ..f~vrg 96;tJil.;t:t,~i1\-:cif .-.i;mpS4R¥Rl~:µ'.1;: ..,:~~;g. -the obl,ig:'?tio?l~.
                          attz~n<:i'a#t :;t,f:i:ij~it<Y- .··· Cy;p,til$\.,:;;~ip.~~.; •f,lia.t tlif~.::rii•iif<::>,~ · will assume . :o;
                           reftain •,t:h~f 1~~istt:1t~                                                                                ,C0ii,H~-~~t.t~e?:c•~~r;g'<:li,J1oililg> ~,,t,e-,ement .of                                                                                                                                  Wi-n<i:so:r
                          with t~e .-Gein:e:.rfti, Lime, $,~s~nr am.a Allied -Wer,k:cerrs, Division . of. the
                          Btoth~r:b:oe.i;l ~f                                                   8e.i,;1erm~1¢i~;~; ;t;tf1/~::,;rtation~-l,,                                                                                                                       J+;.FL~CJ:0                                         Local             aP,d




                                                          (,b1f C~~~:,~ij ;<;lgr•e~s \t~ij·1r;1ii~id'$:<i>w · a:11¢1                                                                                                                                  ~,~i~~:r,,n.               'ttill tet~iri                                           .or
                          as.•sume a.::L:lt J;jj;a:ijiilitie.s and:+,:~:b;:~;t1gati:o:rts re1:,t::1:ng to all houriy a.rid
                          salarieii'-'·<:t9~tp1:~Jees <::r.f W/&•-~~r· :~;mi ~e'ster:n .'ti~1S'it>:~iotfvely ·c ~l:leth~i;
                          active,.                                     ·iti:~,¢~'ive·,                                       £0rnW!1f,.,                                   ~:r rretired) ,                                                                   tn:e.i:r        depend-ent.s                                               and
                          beneficiaries,.                                                     including                                                                   th'Qse                        relating-                                               to         the                                      Colle.ctive

                          Bargaining Agreement,                                                                                                        Emplo.ye1;r _Plans anq Ben~i:it Arrangements;
                          provided,                                      however,                                            that,                                     P:<D:t:   withstanding the :foregoing.,.                                                                                                                      aft;e):'

                          the C1osing, J&J; and not cywrus, Winds.or or Western shal.l be

                          sole,:Ly ,J:,A§t~J;:~ .J~O!'.' c!F1P sneJ..+ .~fl'¥. OJ pro:vid:¢:: .t~J :pe11sion benefits
                         under the 'Re"tireme,nt Plan of JPhri#-ion:                                                                                                                                                                    fii:          J:0hrtson an-a. Af.filiate_d
[t,:i'i:'2-:;;i£t;;;";.f.t. c;sjf~pl$ef§l;,':!~ifi1lifeit-,i/~iJt~~~-~j~~8'S:ia'rJia~;-~~":a~fStft'Z01ff;"':,;f,,;Vi;1lf~~N;flt¾f,;: . /


                        W:i;tidsO-:t and West:~,,;n CWh,(ather a.ct~ye., inactive, forme. r or retired)
            ' ,,,, ".,.' ,, '"' ,fv,;.,/,,:C-\,"_, , ,_; ,,,,'V,i~,                ,//,.~W,:'>').'/' >'i11:•,)~f,.~c,_:1f,(1/:,'!,~~-:"i~':/\t,:a,,,.-i11t;:r':   '                't ,~l/'{:\'\'0'M;\l~8•'(','   ;,,,iN.(//•1~,,.~r:i~•-1,•:•/;,\"h,•"' '                 ,;t   ,.,,,'~,' };/.;1; ·.   ~ . i•••i•",c •.   ',,!




                           their dependents and beneficiaries;                                                                                                                                                        (ii) benefits tmder                                                                                   the J&J
                        .savings Plan for· all active, inactiv~, former or ret.i,red salaried


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  employees           of      Windsor            and    Western,             the it       d:epertden ts     and
  beneficiaries;              (iii)       pension benefits,               life irisuranqe,            rnedl.cal

  benefits,           supplemental          perts ion       benefits,          short""'      and    long--term
  disabi.li,ty benefits and all other benefits for those individuals

  listed        on     Exhibit        Q    hereto;          {iv)       any    and      all    health      care
  continuation coverage to which any cur:rent                                  or     former Windsor or
  Western salaried employee (or a dependent of such) is or becomes
  entitled in connection with a "qualifying event" (as defined in
  Code Section 162(k.)(3)) occurring on ot• be'fore :t:,he Closing Date;
  and     '(v) any and all stock                 options,. s.l;:0:¢K ~ppt:ecliatiori, incentive
                                                                                        0




  cpmpensation          or      other       .9uch      benef.its        fo;r/ w:t:11d$~'r     and    Western
  employees for pe.r iods p~i..o,r U(e the, Closi'ng....                              /N'athin:~ stated in
  th:is    Section          5. 6(b)    shall modify            Q,1.r   al·ter the> 'olfligation$ of
  Cyprus        and     J&J     to        each    othe.t contained ,t:1~sewh.ete                    in    this
  Ag7reement.


  I'fl respect. of all life insurance, medtca:J;/ su.:p.pLemental pension

  and other benefits (except benefits arider the                                     Jt~'1 Salaried Plan)
  for     all    salaried           employees          of    Windsor         ~nd      Western      who    have
  retired on or before the Closing Date, J&J shall pay or provide
  such benefits and Cyprus shall fully and                                   prottrptly reimburse          J,&J

  the actual out of pocket identified cost of such benefits on a

  quarterly basis~ in each case foll9wing receipt of a statement
  from J&J specifying such actual cost in reasonable detail.                                                 In

  respect of life insurance, Cyprus shall reimburse J&.1 .for only
  the amount           of     any     premiums         paid.    by J&J          in     respect      of    sucl"t
  salaried retiree.                 In respect of medical benefits, Cyprus shall

  reimburse J&J for ASO fees and medical expenses covered under the

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  Johnson & Johnson Salar iecl Health Care Plan.            In respect of
  supplemental        pension    benefits,       Cyprus    shall        reimburse    J&J      for

  benefits paid pursuant to the J                 &   J   Supplemental Pension Plan.

  In respect of all of the above, Cyprus also shall reimburse J&J
  for the actual cost to J&J of performing the services described

  above.      Cyprus        shall have     the   right     to    review,. during normal

  office hours and upon reasonabl.e n.otice, such records of J&J as
 may be necessary to verify any charges imposed U::pon Cyprus under
  t.his Section.        Upon 30 days notice to J&J, Cyprus shc;il.l have t,he

  J:ri.gp.,t i;-o assume the obli9ations of any or ,all o:f su.ch benefits
 d;i;i;,e:etly, and    to   provide or causi: .an af~.iliaJ:e tO provide any ot

 all 'o.f such benefits, at wJ:ri~h, tim~ J&J s:ha.;l:!L            o.~    t:eli~v~ii of its.
  0bli:gaticms hereunder in reS':J£lec•t: 0f s.tt€..tt li)~ne·f!i•~.


  J.&J   shall   assist Cyprus        by    continui11<y        to be     resp.onsible        for
 pension payments under and administ.ration of the Windsor Hourly

  l?lan until such time as the related asset-s anp. lla·bilJ,.ties are
  transfer:red to the Cyprus Master Trust.


  J&J    will keep confidential, and will not disclqse to any other
 person,      all     confidential       information       given to J&J         by   CyprLts,

  Windsor or Western, or their employees, in order to allow.                            J&J    to
  provide     the     services    contemplated        under      this     Agre.emeht.         ,J&J

  shall use or disclose such confidential information only as may



  l)tovided   bylaw     or required by any government agency, or with the
  written consent of Cyprus.


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 All liabilities of Windsor and Western for medical, dental and

 life insurance benefiits incurred prior                            to    the Closing Date an:d

 presented to J&J or the appr.opriate agent of J&J .for paym~nt on
 or     before     the    Settlement         Date      shall       be    paid     by   J&J.       Such
 liabilities not presented to                  J&J          for payment on or before the
 Settlement        Date    sh.all     remain        tl:te    obligations         of    Winds.or   a-n<:1
 Western;


         (oJ Effective as of the c1osiilg, Cyprus will am~nd or cause
 to pe alllengeq th.e Cyprus Salar,ie<i Plan to inclug:e ;3;s ~.llgible
 emplo¥ees       all     ~alar ied       employees          o.f   W:J.ndspr     21.nd We?te:rri   wao,
 continue as employees of Windsor and Wester:n after the Closing.

 For     each      su¢fl        $a1:ar fed    empldj.eI?:,          the       accttied       benefits
 attrj.:J;>qbable to tt:ie pefr:iqcii <Z>f setv:ic;e pf ;$,uct:,l: E!IllP~<>y~e, w~th ·J&J"

 o,r a subsidiary .of J&J on an<i prior to :~he closing bate shall be
 determined •under the terms of the J:&J ScHaried Pla.n a:s in effect
 on the Closing .Date,              on the basis of the compensation o.f such
 employee     on    and before           tb.e .Closing Date              and service of: such
 employee through the last day of the calendar month in Which the
 Closing Date occurs, and without regard to any compensa.tion of

 such employee after the Closing Date and service of such etnplo¥ee
 after the last day of the calendar month in which th!;! Closing

 Date    occurs.          For     each    such      salaried         employee,         the    accrued

 benefih; attributable to the period of service of such employee

 with Cyprus or a subsidiary of Cyprus fblldw1rig the Closing sha.11
 be determined under the terms of the Cyprus Salaried Plan or a


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  successor plan, if .any, on the basis of the compensation of such
  employee after the Closing Date and service after the last day of
  tne c~lendar month in which the Closing Date occurs and without
  regard to any compensation and service of such employee on or
  before       the     Closing           Date;      provided,           however           that           each         such
  employee shall receive credit under the Cyprus Salaried Plan or a
  successor plan, if ~ny, for purposes of vesting and determination
  of eligibility to participate and to receive benefits,                                                      but not
  for purposes of benefit accrual, for all service of such employee
  on    o,t   be.fore       the       Closing       in    the       employment             of        J&.1      or         any

  aff1,lie1.hed comwany of J&J that was c.redited for su.cn purposes
  .unde:r th.e J&J Salaried Plan;


          (:dJ effective as of the Cl.9s,ing ba.te ,. Cyprus agtees to alilE!gd

  the cy~rus Mi.nerals Gompany Savings Plan and T'J;tl$t ( th¢ "Cyprus
  Savings       Plan")        to       include       as    eligible           employees               all        active
  salaried      emp10.:9'ees         of WihcH:;or and Western dri the Closing                               Dater and
  to credit,          only for           purposes of vesting and determination of
  eligibility          to     participate            in    the       Cyprus         Savings             Plan,             a.;1.;;1.;

  service       of     such          employees       before         the       Closing             Date         in         the
  employment of J&J and any affiliated company of J&J that was
  credited for such purposes under the J&J Savings Plan.


  J&J shall        cause the account balances in the J&J Savings Plan .of



 Q1~Bi.Il9y 12$!:g ,t~..,. . !,'?e    4i§t.rJ:\;?:~t;g~L ii:1   .?'!g<:;qrg§..!1Gt;?, w~t::J1 .   .1:b~ .t.€:!;J<J:r.l~      qE

  that Plan, th~ provisions of applicable law and the election of


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  the      participant            or    beneficiary.               J&J     shall         provide          such
  individuals with the required 4(J2tf) notice;


           ( e:j    Cyprus agrees that Windsor will .assume or retain the.
  assets, liabilities and sponsorship of the Windsor Hourly P.lan as
  of the Closing Date.                     J&J    agrees      that within 60 days of                        the

  Closi11g Date, J&J 1?1.i:ll transfer                   .fat ca.sh from the             J   & J     Master

  Trust to the cyptt:ts: Mas..ter TrUErt all. assets of th'E! Windsor HburJ.y
  Plan, · determitted in ac.c.orda.nce with the usu:ad.: prJ:,eeidu.r.es. used
  u'rrder t.he John~&oh         ,> Johnson tr1aseer Trust.           fot   th~ <ilet~rm.iriation .of
  tlte s~p>~raJpeI sha:1;t?s .o:f; 'a singli; p1a;r1· thex;:e4•p:i:l;.e1:- ~           l'J:i;JA:ll J::he Qa:tE::
  c5f, a'rt:¥ segregifti<i:in off the· as·sets of the WlndsoJ." ijou~ J.y . ,Plan
 pu'r•$:uant to        tJ:Jet t;1tansfetr    such. ,assseits 'shall s.haire p-ro ,r?atta .in the
  ln;v~~;tment. , expi!tJJ~-r>r~e ~        1..ne:Iud!.tn.g expe"nse$,r      ~e     tl1:e. .J.~J      M'.;l'EJ;te:t
 '.mr:U$j:..       ttp~fi.) s,e.J!'t~,ga,tti.-on,1·• $uch a$Se-~s    $.h~ll   f   ~e    liqui~_a,t::~4 to
 ca sh ,       ah.cl f:d1om '.'t'he,~ ; d13.te tit   'SU Ch   l.i.quf:dati Oh to . the clc;,te O'f.
  ttans'rer        ·of' pc:JS'sefij'Sion: .01:   thiEt a.'sse.ts    will be invest.ad in the
 Bankers Trust Commingled Short-Term rnviestment: Fund, a qualified
 · fund for qua.lifie.d plans for wt:lich Bankers Trust Company acts as

 Trustee.


 J&J     sl)a11      .cause    Windsor and western to make on oi: before the
 Closing Date all required contributions under the Windsor Hourly
 Plan for all completed fiscal years, including contributions that
 may not by law have otherwise been required to be made                                        until. the
 du.e date for firing the tax return for any completed fiscal
 year.          All con tr ihutions and payments accr:ued und-E!r the .Windsor


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  Hourly Plan, determined in accordance with prior funding and
  accrual practices, as adjusted to the extent required t:o include

  propottional           accruals               for        service              for        periods        prior              to             the

  Closing Date, will be discharged and paid by Windsor to the Plan
  on or prior to the Closing Date.


  In addition, J&J, <?-nd not Windsor or Western, shall pay to the
  Wind.sor Hoµrly Plan, on or before the date of the .actual transfer
  of the assets, any amount necessary so that, as of the date of

  the actu,al transfer of the assets, the fair market ~~J.ue, qf tl3.~
  as.$e'.t~ of the Windsqr HoutTy Plan (1ncludi·ng for these pu1rposes
  ant ac_crued but unpaid contrlqutions)                                          eqµ:al1ed or e.¼C.ceede·d the

  -,'ote,sent   -va•lue of a1J.       11   ,bene.fiit l·iabi.l.fties 11 fas
                                            '    '    .          .    . ..  def.ine;<i in JilJR;l,SA
                                                                            .          '      ',·     '    .   '   '   .   ,,.·   ,,   .,· . . ,,.,



  Sei:;;ti:_on 4001 (aJ( 16)) under the W:indso.r Hourly Plap. determ-1.,11~q                                                                pn.
  ~    t~:rlfi$riation       b~sis    using                the as.sumptions                   usetd       f.or ,re.porting
  purpo$es in Note 13 to the 1987 corpo1:(ate ..financial statements of
  Winds.or and J·&J, including without l:i,mitatipn ~n ;assqmed irtt~:r-.E'fSt
  rate of 8.75 petcent.


          (f)     J&J    shall       be         ~olely          liable            and        responsible                   for            all

  claims        made    by    employees                   of   Windsor            and       Western            pursuant                       to
  applicable workmen's compensation laws,                                             if such claims arise out

  Qf   a11:y act, event or occurrence occurring prioi; tc, the. Closing
  Date and        such claims are filed prior                                     to        the Settlement Date.


  wi.thout limitation, all costs, damages, expenses and settl~ments
  payable after the Closing.                              Windsor and Western shall retain all


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  liabilit:y           and      responsibility              for        all   claims     made    by       their
  respective                 employees             pursuant            to    applicable         workman ts.
  ~o:mpensation laws if such claims.: ti) arise out of any act, event
  or occurrence occurring                      on        or afte.r the Closing Date; or {ii)
  arise out of any act, event or occurrence occurring prior to the
  C:t.osing Date,             but were not properly filed on or prior to the
  Settlement Date.


                       5.7
  Dat:e, Cyprus a.nd J~J · sha:.11 enter. ind:Q a Tax Matters Agreement
  su~sbantia'1l:Y i.h th~ f.erm of .•mx1:ia£bd.it 11Tn, atJ:.ach(!d he:r;-eto and by
  this        r·eferenoe             it.1¢6,rpq.~$'1.:ed      rtereir(        ( the      "Tax     Matters

  A'.greemerttl') •.          qypto;s     a.nta.   i·;J'. ~~(:n aqf<.rtowledge         and confirm the

  c&n;t~nt Of the> ''l'c:t::xc/ M'a·.t{teI~~:f A9ct¢'~1n~1;1t,: · ,ct;ncl ~gr.ee to per form all
 opiigations,· 11<equl,tea ~Met·eiluiiait.


                       s·.a     max/•.Lia:~It.l½,ttif:e.$:an<J.,.~efunti$··           Any. tax liabilit¥
  determined            to    be    due      and owing            on    behalf   of     Windsor      and/or
 Western, or any tax r.efund determined to be due and owing Windsor
 and/or western, for periods                         prior    to the Closing Date as a result
 of iil".1 audit performed by any· bax-ing authority after the Closing

 Date, shall be the sole responsibility at1d liability of, or sha.11

  be paid over            to,      .J & J,    a.s    the case may be.            All Land G.ains Tax

 determined to be due to the Vermont Tax Department as a result of
 the transaction contemplated herein shall be the sole liability
 and responsibility of .1                    &     Zf.     Prior to the QlO$ing Date, Cyprus
 arid J       &.   J   shall negotia.te in good faith to determine J                                 &    J   I
                                                                                                                  s


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  basis in such Real Property, and the amotmt of the Base Purchase
  Price allocable to each parcel of Real Property.                                 Cyprus shall be
  responsible        for    performing          an    appuaisal       o.f    the    Real Property
  prior to any negotiations between Cyprus and J                             & J   concerning the
  foregoing.


                  5.9                                Windsor    and         Western.   have    been
  included, since the acquisition or incorporation thereof by JS.J,

  as      additional       .insured$      on:    i3.:,ll   generp.1     liability,       employee
  liability,       worke,rs'     co.mp~ns:~t;i~m_,; a,n9 i:;,:ther insµrance pqlicies
  h.eld by J&J.         On an.d aft.e,r the <2,tosin9            oa,te,      J.&J ag.rees to   use
  its best efforts to, mak::e sttch covera:9es a:nd J?Oliaies { including
  excess                                                                                       and
  Western, and thei::r; ~;f.:f:.i.i1iabei$.,;r ~p ~p, t,l;l~ limd..:l;$ 1:1p~G-i.fj.e<.1 .i11 s-ui:h
  policies,      and     to cc.>op,erat.~ with @~p,:t&s a1l"1d it.s affiliates in
  making claims against such po.li<fies3:.                     In the event o:f a claim,
  Windsor and western >~ija1:L b~-,. tei)£)ijfi~,fl:5ili,e •fG5t· the oal:artce of any
  applicable deductib1.es a,rr¢i r:et~ntions, and for the amount of any
  claim or       claims     made against Windsor or Western                         in excess of
  applicable coverage limits, and for                        the costs of defendin.g any

  claim or claims m:ade aigainst Win?ii,sor or Western to the ~xtent t.o
  which such insurance covera:ges do not cover such costs or do not

  apply.
  11
       deductibles 11 shall include the amount                 ot any         captive insurahce



  affiliates.
  insurance settlement given serious consideration by Cyprus or its


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 affiliates,          or    to    the extent that a          potential tt1al judgment,
 would exhaust              the   coverage available           to J&Jf Cyprus                     and   ,i;ts

 affiliates agree to permit J&J to pi:1rtic::i:pate in such s.ettlement
 negotiations,· or in the defense of such litigation,. as the case
 may be.          Cyprus shall have the final autho.tity in the .. event of
 any dispute           between      J&J    and   Cyprus      concerning th.e              1
                                                                                              fpregoirig
 matters; provided, .however, that Cyprus and J&£f shall oo.operate
 iri the event of litigatio.n                against J&J's         ins.ti:t<ance    carriers to
 establish coverage~                J&J shall he       solely liable ·for its cost in
 any such litigation to establish cover~ger



 thr'otigb the Closing Date, Wind~or sb.c:tl.l µot ~tn$tim. -:i,~s A.i~'f;,~~~$ pj
 Association or Bylaws, .and                We$:.t.en1 s.hall npt q.lileQd J;ts .l¥::ti;i¢1~s

 qf    rr,;cc.t:pqta.tiqn or Bylaw,s' without · tJ:ie ; p:t\io.1t iw,1;,:ibt,~~ll ,~~n.!il;f;IJ>t of
 Cy:pttis.



                    5 .11    Financial Sb~telll_ent:s qf Wtnq~Qr· a.rtd We~.t::~rn,~                    Oh.

 the    Settlement          Date,    the    Closing      Balance      Sheet     sh:all             fairly
 present the combined financial positTon of Wiridso,r and Western as

 of the Closing Date, and shall be prepaied ii:1 c~nfofmity with
 generally          accepted accounting          principles con$,.:lste,ntly                  qpplied,
 subject       to    the     adjustments      described        in Section          2 ..           hereof.
 Between the date hereof and the Clositi.g Date, neither J                                    &    S, · nor
 Windsor nor Western shall do or perform a:n:y act, .or shall omit to
 act, which act or omission will result in a material a.dvers;e
 change      in     the     financial      conditiort,     assets;      or   liabilities                of




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       the Tax Records for more thar1 three ( 3) y,~i:p:s, Cyprt1,s ~tl:a.l.l

       deliver the i:r~x Records .--to J. :& J.                                  Af:t:e,,? the Closing,.                       Cy}?:r.11s

       shall :provide J&J with acce'ss·                            ·to the ass.et-s and operations. -of_
       Windsor a-no. W~$.terri and t¢ ,p~;:$'.Qrts                         knowl~,g,~~pJ.ii therewitpi_,. :~~g
       shall give J&J access to those_ Records ret~int=d by Cyprus, am~
       permit J &J to make copi~S- .the.a::eof at alJ. .r,.eas:onable t irn.e:s, a-nd

       upon rei;i$OI'.l.~pl,~,-;p;r,i9J nq.t,.,i,,q~; .t:p q:yppfs,, ,ht :Q;t'.9f=•f                  JP        permit .y'..~.,;1, 19
       prepare i ti;t .P:~'.iL xet.u:r;11s ~ti{l; J::$.tf~-ll<!;;i;~l            st~'it.:e.#\~:t•$,"       t.6 111:v-Ei~{t;i;..g,a:t::~.. ·

       or def end a:ni •:i.,J.l(i~lIIl11. t¥ .q;J;~~Jn., A:1,n(i~r, $~¢J~iQ'U,. :t.l A.~J,r:eof an~ fJ~X': .~~¥:
       other rep.so~;ab>w,.¢ purpose.



               7.       c~~.;:4,;11,.       ~fl<;. •PJ.o.~J,Jxe::     pf     t:he P:.:~~~,:,,~t,~;pp. GPil~:~mP~~~'.~'.~q
       in this-,    '.'-•-~t            f~lil~t,;';~;!iJ:i•i•i:i~·-•: · -~~~~J\ '.i,:-L"$.lt:i~. iat-'                 ~;;.{i~.-:~~-..Jlli\;

       on Ja-0ua1:y,•E.h" ,~~&,;cfa~J1e,         ••:aie~~!iii::~jt.~!'>:,,: ~~.,:,#h-e ~J:i.c·e·s. 0£ :•q~$J~:ia'lS:_
       in EnglewooOi .Qo.lor.ado;                 !i>~QV1i.l;l~'d,      ~oweve-.tr ;,tt~-t i:the parties mar:if
       by    mutual      pr for     wr i tteri a~reen_1.ent,                    acc;E!+:erate             or       extend                            the
       c1o·s.tng · na't·e--··:tm1rond· ··   cranu~rr;y···---s,,; ·:·~~1'9:$°'9. , · · trr··•<'ti:.ii:a:i- ·to     qbtatri:···               $U~:rr--
       gove rnmen:taJ.       "ctpprovaJ.s           <:it'    third · party                 •¢9rtsen:ts            as       may                            :be
       reasonably .re.quired to G:¢.U~;U_~-t~ the tr;:a,rts.~g,ti'pn -corttemplat't~d
       herein, or for such other g.pqca cause as th£:! parties may mti1;:ually
       determine ( such date shall alsq p,e a llClosin,g..Oa'te").


               8.                                                                                                                                  The
                                                                                                                             • .. J:.~- ',\: ...•;.,;~;,..,,,;,:,,-:.:,:>:,'\-;




       obligations of 'cyprus a11<l df :,t&J If>,U,t$_µ941,:t: l:6 this Agte~in~ht afe
.·•·•·:••·•;i'#iWf5~-fi'it:f@;'!t~fi''e~'sf~~w~~~~~#il--e"'--ll~~Jlir~'i;~tl_w-et::F -s-i;if;:Jiifii/;i_;iii;,jjf:i\it\,\~·-                                                      0




                                                                                                                                                                                      )


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  Cyprus or       J&J    may waive any o~ all of such conditions, in whole
 or in part, at such party's sole discretion.


                  8.1       No Injunctions.            On the Clo$ing Date, np action
 or wroceeding shall have been instituted                             or threatened. to .set
 aside the transactions provided for herein, and.. there .shall be no
 ef.fective injunctioJil, writ or tempor.ary restraining order or any
 order of any nature issued by a court; o.r gove.i:-ru~t:ntal. ageqcy of
 competent jurisdiction, directing tl'le transact.Jqn proviqed for:
 here.in not be consummated as. herein prov.idea.•


                  8. 2     Approvals; C,qtlsents ·•          J\p;y ~liq.   aJ.;!. app;r,ova'.ls    a·nd
 authorizations            of,     f iliI'lgs    and        reg1.str:atiQ11s          with.,       an.d
 notifications           to any gov:errtmental <ir te9,ulatot.:¥ a:utho,rit,y,                     and
 a~y a.nd all approvals or conseBtts by an1 third pat•ty,                                   re~u.ired
 for: the execution, delivery an<i .p.e.i:-~ortnc::1,1'"'~ pf. t:hi$ Ag:reement by
 bo.th       parties,      and     the     consummatioil             of    t.tle     transCclct:ions

 ~ontemplated herein,            shall have been            a:ui:v    ob.t.ained or made and
 shall be in full force and effect ..


                  8.3      Board      Al?Pr.oval.           This      Agre~ment            e211d   the

 transaction contemplated herein shall have been approved by the
 Board       of   Directors      of    Cyprus       Mines     Corpora.tion           and     by    the

 Executive Committee of J&J, which Board and which Committ.ee may

 decline such approval at the sole and exclusive discretion of
 such Board        or     Committee,     as     the    case may be,            for    any      reason
 whatsoever.


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                 8.4      Due Oiligeric:ze.                 Cyprus shall have completed its

  due diligence investigation prior to the Closing Date, and shall
  have verified to its satisfaction:                            (i) t.he quantity, quality and

  recoverability of the talc reserves owned and operated by Windsor
  and Western;          (ii)   the           satisfactory           physical    and     operating

  condition of the Pe.rsonal Broperty; (iii) the satisfactory state
  of title to Personal Property and Real Property;                              ( lv)   the risk
  associated with any actual or threatened litigation tel which                               J&J

  or ariy of its affiliates may be a patty ·con~e•1z:r1:in9 expesJtre to.
  talc is, in Cyprus I sole opinion., an acceptabl~ t;islq and (v} the
  talc inventories of Winqsor atid .W~atetJt aJft:ft in. C;tptus 1·                          sole




                 8.5      Talc supply .Agr;eement.                  C.y.pr:µs shall not acquire
                          ..         .....    •,


  or purchase the Windsor Stock pu,rsuant to this Argreemen:t, apd the
  transaction contemplated herein shall not close, unless, on or
  before Closing, Cyprus and J&J, or affiliates of Cyprus and J&Jr
  shall       have     executed   a          mutually            satisfactory    Talc     Supply

  Agreement, wherein Cyprus agrees or affiliates of Cyprus agree to
  supply, and J&J or affiliates of J&J agree to purchase,. cosmetic
  gra~e tale pursuant to the te.tms and c.o.nc'lit.ions sec.t ftitth therein
  (the "Talc Supply Agreement 11                   ) •     The Talc Supply Agreement shall




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         11.   Survival and Indemnification


                      11.1     Survival.                 T9         the       extent        that               the
  representations and warr,anties set forth in Section J. 24 hereof
  relate        to     ERISA,        such      representations              and       warranties             shall
  survive the Closing for a p'eriod o.f two .( 2.) yE:?ars fol.lowing the
  Closing Date.              The repl:'es.~ntaJ:,icms and warranties
                                                               .     set forth in .                      '           .



  Section 3. 24(h) shall su:t"viv~; .. the Closing for a period of two ( 2)
  year;s       following           th.e   Closing        Date.       The      representations                 and

  warranties set fort.h in $t;¢,i::t~Il 4• .9. i:l,ete;.o;.f; relating to the                       11
                                                                                                         She8r
  Disc" shall survi¥e until ~l;u~ ~tesrminatiqn o,r: expiration .o,f th~
  Ta.lq S'4PP1Y Agreem.~Iit;.               .ALl. ~ther .re,re.sentatien•s and warranties
  contained in Sectiqn~ 3 ·@~ii Jc.•,~~:lt~f .shii'.l,l sur:vive the Closing
  for a        period     of       one    yea!" .6:>'.llq;w,'d,ng    the Closing          Date.              With
  r.espe,ct to the obligation~;,., e,qv,~na~ts ~n<i a9,re.1;ments contained in
  Sections       2.2,    3 •.24(j),, 5.2,,, 5 •.3, 5.4I 5.6, 5.7,                       5.8, and $.11,

  s.uch obligations, cov~nan,:tz~ p,r. a(g:t'eem~nts shail su,rvive until the
                               0




  same        shall    have        been     d:ul;y    pe,rfoi:med.          With       respect     to         the

  obligations, covenants and agre~ments qontained in Seqtions 5.15
  and 5.16, such obligations, covenants and agreements, as between
  Windsor ~nd J&J,              shall survive the'Closing for the periods set
  forth       therein.         With respect to the obligations,                          covenants and

  agreements contained in Se.ct ions, 5 .1,                         5. 9,    11. 2 {v)    an.<1 11. 2 (vi)

  hereof,       such obligations,                 covenants and agreements,                 as    between



  representation,             warranty,           covenant or obligation contained                             in

  this Agreement relating                    to      taxes shall survive the Closing for


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  the period of the applicable Statute of Limitations,. including
  all extensions thereof.


                      11. 2    Indemnification by J&J.                consistent         with     the
  ptoV'ision.s of section 1.1.1 hereof,                  J&J b:eteby      agt·ees tb indemnify
  and hold harmless Cyprus from and against any an4 .:all claims,
  dema:n<ls,      penalties,,          suits,      proceedings,,          judgments,       Tosses,
 ltab'il:ities, damages, cests and expenses' .o.f. ·every kirtd and, nature
  ( inc::lµ,4lrrg,,    but    not lim:ited to, reasoria.b.\te a.t::.t9rneys 1             t¢$$ at1d

 any a'nd all re1ate.d litigation costs a.nd: e:1Ctpenses aristrrg .after
 C:los1in<g from o:r as a consequence of any such p'l:'ot;eeding de·scribed
 in t:.h.i.s Secti.on 11 * 2, including such att.otneys I f.ees and cqsfs
 incurred in connection with pursuing ,cJ.ai.ms under this seCtion
 1::t.2:): (co1teot'ive1y           re£,e1r.red to in t:h.ts :s~e1:,:t:i:~n 11 .. 2 as    i•costs")

 lmp<:>:sed upon or :in¢urte·a frt 'Cyprus or its" ai!'tf.Iaab,e:s as a ,r,esult
 of or' in connE!cttori               wt,th   or arising ·out of:            ti) any and all
 i·n.ac.cu.rate       representations or material bt'eaches of                         covenarit;s.,
 wa..rranties, stipulations, agre,ements and ce.rti.fications made by
 or on behalf of J&J, Windsor or West~rn in this Agreement or in
 any·docu,ment delivered ~ereurtder; (ii} an.y ma,terial biectch of or
 material        default           in the performanc~         by    J&J    of   E!ny     cov:enantt
 agreement or obligation contained in this Agreement:                                   (iii) any
 tax     liability            or    obligation       determined       in    accordance           with
 Sections 3 .17 and 5. 8 hereof to be due and owing on behalf of
 Windsor and/or Western                  for    periods prior to           the Clps,ing Date;
  (iv)   any liabilities related to the                   J   & J   Salaried Plan;         (V)   any
 debt, liability or other financial obligation not consistent with


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                                                                                                                                                                                                                                                                                                                                                              (A)                             is                        the                               legal
                         obligation of Windsor or Western; (B) was u.nd.ertaken on beba.lf. gf

                         or ~t the r.equest or direct.i.oo, of Jt,J;. a:~d· .(CJ 9rE!~t:es.                                                                                                                                                                                                                                                                                                                                       c;>f gives
                          r:1$e tq any liabllit;y wbich, Cyprus W0\;1.ttl JlEt .assume. but fot :the
                         co.ns;~-tian of the. transact.ion contenip1at~a: hereinJ •and (vif ,a,1:i-r
                         };>.'.~~~~ti l.i;:~4,~~t!.Y·"":I?-~.$'~, •<?l~·~'lll., ··•~U'.i•tit ,iii~~~~- ,9r, --~ ·<?:6 \~j~:it(l)p;.
                         d,;~1gt:t::~d ag~:i~~ Cyprµ:§,,                                                                                                                                           vliil1A~tf.1).                                                  Qt                         W~;t;l:'t't1 or. ,~i' of ti~t:t-i~
                                                                .                           .

                         at•lti.J.ia.te$ ~~iitng                                                                                              ®t                             :of the ,sale of it~,o O:r ta:tc-con.:tatn:i:ng
                       .ffi~«iuJJ;tts .rnan~_iai¢t,-rr.ed                                                                                                     :.bv W\i:nt,~:r,_;                                                                         <Wt:t~itt,,,t;t:1:f. ~·~:,J ,~r ··•t;~if.!i-.                                                                                                             ~~~~:~,ji;Ja.si;11~
                       ·t;,j.ij,;n<i&rG~f, ·tl~~t~rn OJt'                                                                                                           .:J~J, prf~~• t,0 f!il.¢.~f@gi~. J~J.' ~/.i~l;)1J.'g~l::ii~ll:.·Gtf·
                        .i:13,j~lJmif:i.J::~t;;tQ'n pijt'~l,l;;t;n;~ to                                                                                                                                          S.e.ett~n$ 11 ..;a.,,~J·                                                                                                         :an;i/1                          l.J;:.,. i{v:ll ,$.tla[l
                        a~~y,'@•,v,e· ·t~'~ ~l:~f:li:nsJ>i.tlt$M~rt.


                                                                            ~l.~                                         It1a~,~~.i,~atiOB;                                                                                                  ~t>x                    omuJ\~                                                            .Cyp'l:'.lil-S'· hti,r:eby agr,eeer
                         t~,. --~j$11tn:i.iy, ~l' ·n~~~,:iJ\t.;i ha;1::n1~1:J.A~,,itt•j -,~,<~~t::q- •nt: •-'~'n.4•ii.
                        ciaJ.ms,                                       demands,.                                                            penaTties,.                                                                                ,sults1                                                        1!-i~~eedin(l$"'                                                                                             juagme~ts,
                        l:O$B:S$,                                     .lia:btld:t'ies,. d'®lage•s',                                                                                                                              <:(JS:t'S                                       and· ,__E!'tt$'.E!$                                                                              <~;f:                        ev.r;,r:y ~ictld

                        ~nd n:ature (.,incl.udi:~g, .J:>ut ,not :J;.µnited .t::9;* ):.e~;eqnafii~ at;~tQtI:t:•te/
                        fees and all related lltigation costs and :e~p.ensea, arj.sing after
                        Closing from or as a con:sequence of any such proceeding de,scribed

                         in this Section ll. ~". i-:ticlu4ing                                                                                                                                                                                     ·such att13·rneys • f,_~s-                                                                                                                                          and izt.)$:t,it
                         incur.red in connection wi !::h put,suing claims under this S~c•tion
                         ll, .. JJ                                  {c:ollectively                                                               refe; red, to in this                                                                                                                                  ?,~9t:ion                                                  ,ll_,.,} {iS "CQ@t:,svJ.

                         iml)osed up.on. or                                                                       incurred                                                           by J&J                                              :or its atfti.Iate,s a's. a ·res.ult: of-
~;,ia;t'4,.,..:,.   . .,.,;g . t Iii.JP', ,:mCl<UI                               t         IIP~..,'.!! ti. J l1 ~~"-'"'~illll I. jiJii: ·. •®4JJJL. Ft;;•J·"" -                                                                                                                                                                                                                                                        "'P1$'Rj:J i!llil·'-\:,,', >.. .-•••,,,:,;;,.c,7..;:~;,;, · ·

                         in~~pv.rate
                      " . --.,:,;{/20(_;.;;;·.:..-: _- i'> '/
                                                                                r(tpres~n~,ations                                                                                                          9r . ~ter:ial . .Jir~ao11.e,s ~£ . cqven~nf:$;
                                                                         ;·___ ~-'.~,--~,;~~•;'f:~;,7;-{;-:.~•-,--,-· / -,-' :_ -·: ; ...,.,,-_-- -.:.•,.,.~,~f:-t~,;,~~_oo~;~,::;.._>;.>. ':: . ·•,·. ''>.. :::-·.-.·: ,·>:, '• \ ,c:c_ir!-''-'csi'ti"!:~<~?Y''-'.'' ;: :" /. ·<; :-·_--•<:'.•_'',';;i>-·<'·;;',;~:1"~!f-'.:~f:;':::T::·f··:,:':':':"•::'.'.'•:c,:,::·,,<~--:-:;c.-·:~-'.:'o::'c'~i,f":'S~:C~:<.,:, ·--:,~:-.•_.'-:_:·:'",:,:<·:f/},'>' ·;,;i;;_-7:;,;-,,;;'~•;'; 7/;:•_. :

                        warranties, stipulatio.ns, agreements an_d c.~.n:tifica.tions made by


                                                                                                                                                                                                                              -62-
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 or    on behalf       of    Cyprus       in    tbi:; A9,r~~ment               or. in any document

 delivered hereunder;              (ii)        any    material           breach Of or material
 <iefault in the performance by Cyprus of any covenant:, agreement
 or obligation contained                 in     this Agre¢ment;                  and (ii.i)                 any t:ax
 refund       obligation      determined             in    accordance              with          se.oti:on            5. 8
 hereof to be due and owing                   J&J:. for      p,er±ods pr:i.d.t' to the Closing ·
 oate.

                 11 • 4     Indemnification               Proc~dure';          Defense,.                    ·tn       th~
 event t'hat any indemnified: part¥ deteirminas that . ti: ls .e,n.ti.tilied
 to    imit~mnif ication       under          this        A.gre~m~Qt;          Hr iShaJ.Ll                 pro1npt:.ly
 t:h:ere.art:er so notify the in~emnifyriag pa,~.t,y: iJ+: ~:t\~i1lg i wh;,ich
 writing shall set .forth in a:etai.lo tlife> amQttn)t0
                                                                             r1f •.and the              ba$1.$ r'¢1r;
 sucJ:1 cl~d.:m~      P:tqmptly afte:f re¢:e'ip'tc lirfy           t'ne· tn~emni.iie'd patty                          ,of ·

 not:1¢e o.f the conunencement qf ,~,ri;y                   :a,o:t,ibn   ~Ii~ijill~:dii,l:g       t:t-te     stibjt:Jot
<mat:,tet of the foregoing               inti:e1t1a.±'t•y ·p~ov:ri/s4.011i,, ~u.cih iri:d.i::~n.i:fi.ed
 party shall.,. if any claim in respeet uhe·t:eo'.f ls t,o pe made
 against the indemnifying party under Sect;ion 11.2 er.11.3, notify
 the :i,ndemnifying party in writing of the commencement thereof. In
 case any such action is brought against any iqjiemnified party,
 and     it   notifies       the    indemnifying' party                    of.      the         comn:ie11cem1E?nt
 tf!e:repf,     the       indemnifying          party·                    ·•n;::i,,:rer•• sr:;,na;•··•."''"'"'"''"'    to

 participate       therein,        and    to     the extent              that it may                    ele<it by
 written notice delivered to the indemnified party promptly after-
 receiving the aforesaid notice f.r.am. such indemn.i.fied party.,                                                     to
 as$time the. defense thereof, with. counsel reasonably satis<factory
 to    such    indemnified         pa1;ty;       provided,           however,                 that          if        th.e


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   defendants in any such action include both tl'le indemnified party
       and the indemnifying party and the .indemnified party shall have
        reasonably concluded that there may be legal defenses available

       to it arid other indemnif i$d parties which a.re different or are in
       addition                                                             to                          those                                          available                                                                        to                         the                                    indemnifying                                                              party,                                   the
       indemnified party or                                                                                                                                            par.ties                                                        shall have                                                                                  the                        right                   to               select
       separate                                                           counsel                                                       tp assert,                                                                                at                             the                             cost                                   and                        expense                       of                          the
       indemnified                                                                                party                                             or                           parties,                                                                    such                                            legal                                      de fens.es                            and                                   to

      otherwise participate in the de,fense o. f su:eh action on behalf of

       suoij lndemnif ied party o.t J?it:lrt:ies, ;subje:Ct. to r.~imbur,sernent of
       s~qh cos,ts and expens.e,s to the. in<iemn.ified party or pqtties                                                                                                                                                                                                                                                                                                                                           upon
                               f1..nai                                            dete,rmination                                                                                                                                                                                                                                                               is                  within                                   the
      ·ina;emrti.fica.tion .:<I>.~•lig:attio,ris• S:,~:tr iertlt. sin tthit.s Se.ction l.l •                                                                                                                                                                                                                                                                                                           rn the.
      e-{fen.t that the 1indemnifyin~ par,ty shall a:ssu.m~                                                                                                                                                                                                                                                                                                 tne                    de.fense of a

       lawsuit                                                        as                           p~ovi:de..d                                                            herein,                                                             the                                   indemni!:fy.img                                                                            pacrty,                     .after
      consUltation with the indemP'ified p.a't.ty;                                                                                                                                                                                                                                                                           shall have. rea$cmable
       central· ov:e,r the dec:i'.si:on to try, sett'.J;:e, eempicomise or qtherwise
       terminate such lawsuit.


                                                                                   11. 5                                     E!xclusive R~medy.                                                                                                                                  J&J                                  and Cyprus                                                    acknoy1led9e

       and agree that the indemnity p~ovisions of this Section 11 shall
       be the exclusive remedy for either party for any matter for which
       ei:ther party may be indemnified.




       thi; Cl9sing Date., J&J.. shaJ~l ca:u$e Wind$or and Wes:terrt t.o operate
•', '· y_,,1J\._\,·;t,,, ,>, ,,, ,· -./1 ;,. ,,,, ::; , : ,: ,\.::;,,: -~,,.,,, --,~\/,'(:,,.,; ,, , , :• ,,.\ ,i: I'<~-_,,,,,;·, ',,, /\, 1,·,,,.;_,,;,,, »i"-i,·, .. ;' .,· .; .· ·, i'-' ,1-,.·;   , ,.;_;, ;_.,:,, «, <>,;,,-/ ,,,., ,/· '., •' , ,,, ' ,;   !c'i:i''~'- ';•,~\'{~ !'''.',>,»r9;,•:,-1v ,>I,><!   ,, ,, ).,,,_ ,,,:;:,",,;,;:,,,;, <!,,,.,;,M,\i:,,;~,,,, ',       ,_,,_,_, -1,,,,,:;c ;•i' ', i .' C ,.,,',-"/,,0, :,, '•/1'1"-''<
                                                                                                                                                                                                                                                                                                                                                                    ..
       their bus.in:esses in the ordinary course.                                                                                                                                                                                                                                                                                       Neither Wihdsor n6r


                                                                                                                                                                                                                                -64-
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  Western          shall         enter    into or       amend. •any              material       qqn:ttact,        or
 otherwise adversely affect irt any material r.espect the fina:ocial
 conqitions,              ownership          or    operations               of     Windsor       and     Western
 without. the prior wr.itten consent of Cyprus, which consent shall..
 not.      be        unreasonably · withheld.                            With      respect        to     capita'.l
 invest.rn.erH:s          and       e~c(penditures,         a:nd.        the     ongoing.      opera. t.1on Of
 Windsor           and     weste1.:_1t facll.ities,.             J&J       shall      cause Windsor .and
 Wester•n to •opet•ate tlte business and . f a.:cill ties in tt:ie <:>rclinarf
 coutse, and sh.1111! make such capital inves·tments .and e~E)~p,dJtail~$:
 .:1s ma.:y pE!' te:q11itried e'heref'orf provr::ided, I-r0we1titt\, :th·at n<\l o;apita.l
 in:ves,tment· car etJ?end.i<~ti'te ilt ex:Ce&'s qf gr1:e . . Hti'n:<a;:t'E!d: ·· irnousa:ixd.
 Dollars f$•110]),.@:0QB)j sfi.a,11 ·be ma.€1~.                 (D.ll'   a.pprp\1'~:g: wi,t.:~qtt.t .. ~~~   <pl;'iRr
 written          ¢t:>rt$ec11t   o:f 31:;y.prus, w.hi.ch.   csnsent or. approv:a:J.. sti~l).. not. ·.p~

 unre~E3'.P.#:~h¥t•'.w·~~·!5/l'r~$~•_, , A:Eb'e:i7'. the: Clos.trig , Wl,a~$,'d,t sha•ll have 'the
 rtgt:it     to:<m@n~g,~ "-~~ijt"'b,ris$#E!$$          ~tt<.1   all ·a:sp~cts          'o'f   tt, .and J:       & 'J

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           13 •       Miscellaneous.


                      13~1        Parties. in· Interest; Assi9mnent.                          This AgreemeriJ:
 shall be binding upon., and shall inure to the benefit of,                                                     the

 parties           hereto        and     their    respective               sµcce~sors         and pe:r:mibted
 assign$.              This Agreement             is   not made for                 the . ht=neflt. of; ap.y
 person, firm,             cotporation: or other entity not a party hereto, and
 nothing in this Agreement shall be constru¢d to give any person,


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 AG8805807
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 affect    the    interpretation         of   any    of the provisions of                                this

 Agreement.

                   JJ./
                 13~ Mutual       Negotiation.                 This       Agreement                and

 language contained herein have been arrived c;lt by                                             the mutual ·
 negotiation of           the parties.        Accordingly,               no provision hereof
 shall be construed against one party or in favor of another party
 merely by reason of draftsmanship ..


       IN WITNESS" WHEREOF, the parties have caUsl:!d this Agreement

 to be executed effective as of the day and ·year first Sie.t forth
 above,.



                                                JOHNSON j· .· JOHNSON
                                                a-~~-:?!tlc.orporat,...i~·o_n_·
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                                                Title:
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Attorneys for Defendants
Johnson & Johnson and
Johnson & Johnson Consumer Inc.
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
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RICARDO          RIMONDI and PILAR                             SUPERIOR COURT OF NEW JERSEY LAW
RIMONDI,                                                     : DIVISION: MIDDLESEX COUNTY DOCKET
                                                               NO: MID-L-02912-17 AS
                               Plaintiffs,                   :
                                                               ASBESTOS LITIGATION
                     v,                                      : CIVIL ACTION

BASF CATALYSTS LLC, et al.,                            :   DEFENDANTS JOHNSON & JOHNSON
                                                           CONSUMER INC. AND JOHNSON &
                             Defendants.                   JOHNSON’S JANUARY 2019 AMENDED
                                                           SUPPLEMENTAL RESPONSES TO
                                                           PLAINTIFFS’ SUPPLEMENTAL
                                                           INTERROGATORIES AND INITIAL
                                                           REQUESTS FOR PRODUCTION OF
                                                           DOCUMENTS
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
---
          Defendants Johnson & Johnson Consumer Inc. (“JJCI”) and Johnson & Johnson

(collectively, “Defendants”), by and through their attorneys, hereby provide their January 2019

Amended Supplemental Responses (“Responses”)1 to Plaintiffs’ Supplemental Interrogatories

(“Interrogatories”) and Initial Requests for Production of Documents (“Requests”) stating as

follows:




1
    These Responses supersede prior responses to these Interrogatories and Requests.


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    INTRODUCTORY STATEMENT TO RESPONSES TO INTERROGATORIES AND
                            REQUESTS


        Plaintiffs’ action concerns alleged exposure to Johnson’s® Baby Powder cosmetic talc

products sold in the United States (“JBP”).2 JBP have been manufactured and sold at various

periods of time by one or more of the Defendants and/or their predecessors, subsidiaries and

affiliates (the “J&J Companies”). JJCI is currently the entity primarily responsible for the

formulation, manufacture, testing, marketing and sale of Johnson’s® Baby Powder. Johnson &

Johnson is a holding company that does not design, manufacture, market or sell Johnson’s®

Baby Powder (or any other product).3 Accordingly, the overwhelming majority of documents

and information regarding JBP are in the possession of JJCI.

         Johnson’s® Baby Powder has been sold for over a century and continues to be sold

today. Over the many decades that JBP has been sold, different entities, departments, and

employees – as well as third parties – have had responsibilities for various activities pertaining to

these products, including, but not limited to activities relating to formulation, manufacture,

testing, marketing and sale. Many of Plaintiffs’ claims relate to such activities which took place

in the mid to late 1900s and therefore many of the individuals who were involved in or had first-

hand knowledge of such activities have died or are no longer employed by any of the J&J

Companies.




2
    Defendants’ Document Production (as defined herein) also includes documents regarding Shower to Shower®
    cosmetic talc products sold in the United States. One or more of the J&J Companies (as defined herein)
    manufactured, marketed, and sold Shower to Shower® during the period from approximately 1960 to 2012. In
    2012, Shower to Shower® was sold to Valeant Pharmaceuticals International, Inc. (“Valeant”), which currently
    manufactures, markets and sells the product.
3
    For this reason, Defendants object to Plaintiffs’ collective allegations against JJCI and Johnson & Johnson on
    the grounds that they are factually and legally incorrect and improper. By making this response, Defendants do
    not concede that Johnson & Johnson is a proper defendant in this action.


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        In connection with personal injury actions against Defendants alleging exposure to JBP

(including actions alleging that such exposure caused ovarian cancer, mesothelioma, or other

diseases), Defendants have conducted reasonable searches at various times over the course of

many years to identify, collect and produce documents that relate in a reasonably direct manner

to Plaintiffs’ allegations concerning JBP. Although Defendants’ searches generally have been

broad in scope, over the last several years, Defendants have expanded their searches to take into

account, among other factors, the development of the claims and defenses in talc personal injury

actions, discovery requests propounded on Defendants, and the overall increase in number and

scope of talc personal injury actions against Defendants. In addition, in late 2017, Defendants

re-visited sources from which documents were previously collected and made additional efforts

to identify documents that may not have been identified in connection with earlier searches.4

Responsive documents identified in connection with all of the foregoing search efforts are being

produced in this action, subject to the entry of a Protective Order in this action (the “Document

Production”).

        Included within the scope of Defendants’ Document Production are documents

concerning the talc and talcum powder used in JBP (talc mining and the fabrication and

processing of talc powder, including sampling, testing and other quality control measures) as

well as documents concerning the following activities and/or subject matters: research,

formulation, specification, manufacture, quality control, labeling, sales, regulatory, adverse event

reports, health and safety-related testing, and other consideration of health and safety issues


4
    Because many of the documents collected in connection with the late 2017 search efforts were historic paper
    documents, reasonable methods of de-duplicating such documents against those previously produced are not
    available and, as a result, Defendants expect that many documents added to the production in connection with
    the late 2017 search efforts are duplicative of documents previously produced.




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reasonably related to JBP. Also included in the Document Production are documents that may

pertain to Johnson’s® Baby Powder sold outside the United States to the extent that they

reasonably relate to testing regarding asbestos or ovarian cancer. Reasonable efforts also have

been made to include in Defendants’ Document Production documents produced by Defendants

(including documents obtained from certain third parties) in all personal injury actions against

Defendants involving JBP.5

        In addition, Plaintiffs have served a number of sets of discovery (including these

Requests and Interrogatories) that relate to the alleged sale of Johnson’s® Baby Powder in the

Peru (“Foreign-Related Discovery”). Notwithstanding the breadth and scope of the foregoing

searches, Defendants have undertaken additional investigation in connection with the Foreign-

Related Discovery. Defendants conducted additional reasonable searches specifically focused on

the types of information and documents sought in connection with the Foreign-Related

Discovery pertaining to Plaintiffs’ alleged exposure periods of 1960 to 1992 in Peru. Defendants

have identified additional responsive documents which have been added to the Document

Production, as described in the April 26, 2018 letter to Mr. Cotilletta.

         By referring Plaintiffs in certain of their Responses to the materials described above,

Defendants are not stating, with respect to each and every Interrogatory or Request that they

have or have had responsive information or documents, that they agree with the characterizations

contained in the Interrogatories or Requests, or that all documents that may contain information

responsive to each and every Interrogatory and Request are included in the materials described

above. Rather, by such reference, including descriptions of what documents Defendants have a
5
    Defendants are making such documents available without waiver of their right to object to the authenticity
    and/or admissibility of such documents on any ground, including but not limited to, hearsay, lack of relevance
    and undue prejudice. To the extent that Defendants identify additional responsive documents in connection
    with this or other personal injury actions against Defendants involving exposure to JBP, they will supplement
    their Document Production and make them available in this case.


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reasonable and good faith belief would be included in the Document Production, Defendants are

stating that, if they have documents with responsive information, they have taken reasonable

steps to identify those documents and include them in the Document Production.

       Defendants’ Document Production is in a reasonably usable, fully searchable form and

Plaintiffs can identify specific documents that may be responsive to particular Interrogatories or

Requests based on their own interpretation of such Interrogatories or Requests. Nevertheless, in

response to certain Interrogatories and Requests that are reasonably narrow in scope and specific,

Defendants have identified in their Responses by way of example Bates numbers of documents

that they have a reasonable and good faith belief are responsive to such Interrogatories and

Requests, based on their interpretation of those Interrogatories and Requests. Such references

are not intended to be a comprehensive listing of each and every document that may be

responsive to an Interrogatory or Request.

       In addition, Defendants have made additional reasonable and good-faith efforts to

identify documents in their Document Production that relate in a reasonably direct manner to

certain topics (“Topics”). In developing the Topics, Defendants have taken into account the

claims and defenses in talc personal injury litigation, as well as specific discovery requests

Defendants have received. The Topics are identified below and the documents relating to such

Topics will be identified in a spreadsheet that accompanies the Document Production. By

providing such information to Plaintiff, Defendants are not stating that every document in the

Document Production that may relate in some way to a Topic has been identified on the

spreadsheet, but rather that Defendants have taken reasonable steps to identify such

documents. The Topics are as follows:

       1. Talc Sources (Mines/Mills/Suppliers)



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       2. Manufacturing

       3. Testing

       4. Formulas/Product Specifications

       5. Packaging Specifications/Labelling

       6. Advertisements

       7. Marketing

       8. Sales/Distribution

       9. Studies/Medical Literature

       10. Adverse Events/Complaints/Workers’ Comp Files

       11. Warnings

       12. Discussion of Health and/or Safety

       13. Regulatory and Government Communications

       14. Trade Associations

       15. Cornstarch and Non-Talc Powder Formulations

       16. Corporate History/Structure (Annual Reports, 10-Ks, Histories, Corporate Structure

Documents).

       Pursuant to New Jersey Rule of Court 4:10-2(e)(2), any production of documents or

disclosure of information protected by any privilege, immunity, or doctrine, and/or any

production of a confidential document or confidential information, is not intended as, and shall

not be construed as, a waiver.

       These Responses are made in a good faith effort to supply factual information and specify

legal contentions that are presently known. Defendants reserve the right to supplement and/or

amend their Responses based on information or documents discovered in connection with



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ongoing investigation, discovery and/or trial preparation in accordance with the New Jersey

Rules of Court.

         GENERAL OBJECTIONS TO INTERROGATORIES AND REQUESTS

       Defendants generally object to Plaintiffs’ Interrogatories and Requests, including but not

limited to the Instructions and Definitions, to the extent that they seek to impose obligations

beyond those set forth in the New Jersey Rules of Court, this Court’s Local Rules, Case

Management Orders or other orders entered by this Court in connection with this case, or any

other applicable law or rules. Defendants object to the definitions of the terms “defendant”,

“you”, “your”, and “your company” on the grounds that they are compound, vague, ambiguous,

and overbroad insofar as these terms as defined would refer to entities acting without any

authority from Defendants. Defendants object to the definitions of the terms “asbestos”,

“asbestos product” and “asbestos-containing product” on the grounds that they are compound,

vague, ambiguous, and overbroad insofar as they purport to include products beyond those at

issue in this litigation. Furthermore, they are as vague and ambiguous to the extent it fails to

distinguish between raw asbestos, asbestos contained in different types of products or product

components, and/or different types of asbestos fibers. Defendants never mined raw asbestos or

manufactured any asbestos-containing products. Defendants object to the definitions of the term

“Talc” on the grounds that it is vague, ambiguous, and overbroad insofar as it purports to include

both industrial and cosmetic talc. JBP only contained cosmetic talc. Defendants object to the

definitions of the terms “talc product” and “talc-containing product” on the grounds that they are

compound, vague, ambiguous, and overbroad insofar as they purport to include products beyond

those at issue in this litigation. Further, Defendants generally object to the extent that Plaintiffs’

Interrogatories and Request seek information and/or documents unrelated to JBP. In addition,



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Defendants generally object to Plaintiffs’ Interrogatories and Requests to the extent that they

seek “all” information or “all documents” regarding a particular subject matter (or similarly

broad language) on the grounds that such Interrogatories and Requests (a) are vague and

ambiguous, (b) are overly broad, (c) seek information and/or documents that are not relevant

under Rule 4:10-2(a), (d) are unduly burdensome, and (e) seek information and/or documents

protected from disclosure by the attorney-client privilege, the attorney work product doctrine, or

both, as well as any other privilege or protection recognized by law.

 SPECIFIC OBJECTIONS THAT APPLY TO MULTIPLE INTERROGATORIES AND
                            REQUESTS

       Several of Defendants’ objections apply to more than one Interrogatory or Request. To

avoid repetition of objections that may apply to several of the Interrogatories and Requests, those

objections are set forth in the form of numbered paragraphs below. Where applicable, these

objections are specifically incorporated by reference to paragraph number—e.g., “Specific

Objection No. 2”—in Defendants’ Responses to particular Interrogatories and Requests below.

       1.      Privilege: Defendants object to Plaintiffs’ Interrogatories and Requests to the

extent that they seek information and/or documents protected from disclosure by the attorney-

client privilege, the work product doctrine, the joint defense privilege, the common interest

doctrine, the self-critical analysis privilege, and/or any other privilege recognized by law.

       2.      Confidential, commercially sensitive and proprietary information: Defendants

object to Plaintiffs’ Interrogatories and Requests to the extent they seek information and/or

documents that are confidential, commercially sensitive and proprietary, including but not

limited to information and/or documents relating to their products’ design, testing, and

manufacturing. Defendants state that they are not withholding documents based on this

objection, but rather are producing such documents subject to the protective order entered in this

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action. In addition, Defendants may redact certain of the information described above from such

documents and produce them in a redacted form.

       3.      Personal Information: Defendants object to Plaintiffs’ Interrogatories and

Requests to the extent they seek personal or private information and/or documents containing

personal or private information about individuals other than Plaintiffs, including, but not limited

to, home addresses and phone numbers of Defendants’ current and former employees and

identifying information (including but not limited to medical information) regarding other

consumers of Defendants’ products. This information is not relevant, privileged, private, and/or

confidential, and Defendants are required by law to protect some or all of it from disclosure.

Defendants state that they are not withholding documents containing personal information based

on this objection, but rather are redacting personal information from documents and producing

them in a redacted form.

       4.      Unreasonable Scope: Defendants object to Plaintiffs’ Interrogatories and

Requests to the extent that they are unreasonable, overly broad, unduly burdensome, and not

proportional to the needs of the case (including but not limited to insofar as they are completely

unlimited as to time period or are not limited to a reasonable time period) on the grounds that

such Interrogatories and Requests violate Rule 4:10-2 of the New Jersey Rules of Court.

       5.      Foreign Entities: Defendants object to Plaintiffs’ Interrogatories and Requests as

unduly burdensome and not proportional to the needs of the case because they seek to require

Defendants to obtain detailed information and documents from independent foreign entities that

may have manufactured, distributed, or sold Johnson’s® Baby Powder in the Peru.

       6.      Discovery Regarding Relationship Among Corporate Entities: Plaintiffs object to

those Interrogatories and Requests that seek information regarding the relationship among



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different Johnson & Johnson entities on the grounds that such requests are unduly burdensome

and oppressive and the information sought is neither relevant to the subject matter of this action,

nor reasonably calculated to lead to the discovery of admissible evidence. While the Johnson &

Johnson (J&J) Defendants deny any liability in this action, to the extent any J&J entity is found

liable, Johnson & Johnson Consumer Inc. (JJCI) is the entity that will accept such liability,

regardless of whether it was the J&J entity that manufactured, marketed or sold the product(s) at

issue for the entirety of Plaintiff’s exposure to those products, and without waiver of its position

that each J&J subsidiary and affiliate is a separate and distinct entity.

       Subject to the qualifications set forth in the Introductory Statement and without waiver of

the objections stated above, Defendants respond to the individual Interrogatories and Requests as

follows.

                   ANSWERS TO SUPPLEMENTAL INTERROGATORIES

INTERROGATORY NO. 1:

       State the full name, address, telephone number and position of all corporate officers or

other persons representing, providing information or otherwise assisting you in answering these

interrogatories.

ANSWER TO INTERROGATORY NO. 1:

       These responses are served on behalf of Defendants JJCI and Johnson & Johnson.

Defendants’ attorneys prepared these responses after consultation with Defendants, review of

documents, and consideration of information that has been developed in the litigation. These

responses are verified by authorized agent(s) of Defendants as required by the applicable rules.

The verification form will identify the individual making the verification.

       To the extent that this Interrogatory seeks additional or different information, Defendants

object on the grounds stated in Specific Objection No. 1 and 4.
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          To the extent that this Interrogatory seeks additional or different information, Defendants

object on the grounds stated in Specific Objection No. 4.

INTERROGATORY NO. 15:

                  Do you maintain a database, compilation, summary and/or records of your sales

of cosmetic or personal hygiene products? If yes, please provide a detailed description of same

and the addresses where these are maintained and the name and address of their custodian(s).

ANSWER TO INTERROGATORY NO. 15:

          By agreement of the parties at an April 26, 2018 meet-and-confer between Plaintiffs’

counsel and Defendants’ counsel, Defendants are providing an amended response to this

Interrogatory with respect to JBP only. Defendants state that they have a reasonable and good

faith belief that the materials described in the Introductory Statement include documents

containing available information regarding sales of JBP in the United States, including but not

limited      to    the    following:    JNJTALC000849720          to   JNJTALC000849726          and

JNJTALC000849728 to JNJTALC000849770.

          To the extent that this Interrogatory seeks additional or different information, Defendants

object on the grounds stated in Specific Objection No. 4.

INTERROGATORY NO. 16:

                  Identify where your cosmetic or personal hygiene products, including, but not

limited to, those identified by Plaintiffs or any other fact witness in this case, were manufactured,

assembled and distributed and by whom (name and address).

ANSWER TO INTERROGATORY NO. 16:

          By agreement of the parties at an April 26, 2018 meet-and-confer between Plaintiffs’

counsel and Defendants’ counsel, Defendants are providing an amended response to this



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Interrogatory with respect to JBP only. Defendants state that they have a reasonable and good

faith belief that the following entities were responsible for the manufacture and distribution of

JBP during approximately the following periods:

              1894-1972 Johnson & Johnson

              1972-1979 Johnson & Johnson Baby Products Company, a Division of Johnson

               & Johnson (See JNJTALC000471083-JNJTALC000471089).

              1979-1981        Johnson      &    Johnson    Baby     Products    Company      (See

               JNJTALC000471090-JNJTALC000471103).

              1981-1988 Johnson & Johnson Baby Products Company (a distinct entity from

               the         above)          (See        JNJTALC000533370-JNJTALC000533377;

               JNJTALC000533378-JNJTALC000533380).

              1988-1997         Johnson     &    Johnson    Consumer      Products,    Inc.   (See

               JNJTALC000533381-JNJTALC000533385;                            JNJTALC000533386-

               JNJTALC000533387).

              1997-2015 Johnson & Johnson Consumer Companies, Inc.

              2015-present Johnson & Johnson Consumer Inc. (See JNJTALC000471104-

               JNJTALC000471107; JNJTALC000471108-JNJTALC000471109).

       To the extent that this Interrogatory seeks additional or different information, Defendants

object on the grounds stated in Specific Objection No. 4.

INTERROGATORY NO. 17:

               Identify each person, business or other entity in the chain of distribution of your

cosmetic or personal hygiene products, including, but not limited to, those identified by Plaintiffs




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                            CONSENT. ASSIGNMENT, AND ASSUMPTION

0
             Reference is made to the Talc Supply Agreement between Cyprus Windsor Minerals
     Corporation, a Vermont corporation (" Assignor"), and Johnson & Johnson Baby Products
     Company, dated January 6, 1989 (the "Agreement"). Assignor hereby assigns its rights
     and delegates the performance o~ its duties under the Agreement to RTZ America, Inc., a
     Delaware corporation (" Assignee"}. Johnson & Johnson Consumer Products, Inc., a New
     Jersey corporation ("CPI"), as successor in interest to Johnson & Johnson Baby Products
     Company, hereby consents to the assignment of rights and the delegation of performance
     of duties under the Agreement by Assignor to Assignee.

             The consent of CPI granted hereby shall not release Assignor from any liability or
     responsibility under the Agreement and does not constitute a waiver or an estoppal with
     respect to any rights that CPI may have by reason of Assignor's past performance or
     failure to perform. The consent of CPI granted hereby is granted subject to the condition
     that Assignee has agreed, and hereby agrees, to assume an<;! perform all of the obligations,.
     covenants and agreements of Assignor in the Agreement and to comply with all the terms
     and conditions of the Agreement.

          No provision of this consent, assignment, and assumption shall be deemed to alter
    or modify any term or condition of the Agreement.

         In witness whereof, the parties have caused this consent, assignment, and

0   assumption to be executed effective as of the .-27 th day of June, 1992. .


    JOHNSON & JOHNSON
    PRODUCTS, INC.                                    RTZ AMERICA, INC.


    By:   ~ T,t/1-h -                                 By:
           Name: Brian T. McGrath                            Name:    \\'\"-v l b~\,\O
           Title: Director of Purchasing &                   Title:   ~"ui,~1'\
                   Package Engineering

                 NDSOR MINERALS CORPORATION


    By:
                     '1
                           • Wolf




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                                         AMENDMENT AGREEMENT


           AMENDMENT, dated as of December :31, 1996, to Talc Supply Agreement dated
    January 6, 1989, as heretofore amended and assigned (the "Agreement"), between
    Johnson & Johnson Consumer Products, Inc. (as successor to Johnson & Johnson
    Baby Products Company) (the "Buyer"), and RTZ America, Inc. (as successor in
    interest to Windsor Minerals Inc.) (the "Seller").

           For good and valuable consideration, the receipt of which is hereby
    acknowledged, Buyer and Seller hereby agree to and hereby amend the Agreement as
    follows:

    1.    All capitalized terms used and not defined in this Amendment shall have the
    respective meanings set forth in the Agreement.

    2.     Section 2(a) is amended by replacing the date "December 31, 1998" with the
    date "December 31, 1996".

    3.    Section 2(b) is hereby deleted in its entirety and replaced with the following:

                  "The term of this Agreement shall be extended from January 1 ,
                  1997 through the close of business on December 31, 1999
                  (the "Additional Term"), and shall be automatically extended
                  for up to two additional one-year terms, unless Seller notifies
                  Buyer in writing no later than July 1, 1999 (or July 1, 2000 in
                  the event the term hereof is extended for the calendar year
                  2000) of its decision to terminate the term of this Agreement as
                 of the end of the then-current calendar year. Prior to March
                 31, 2001, if this Agreement is still in effect, Buyer shall (i) if
                 requested in writing by Seller, engage in good faith
                 negotiations as to extending the term of this Agreement
                 beyond calendar year 2001, upon terms and conditions
                 mutually acceptable to the parties, and (ii) not enter into any
                 talc supply agreement with any third party for greater than 10%
                 of the Talc requirements of Buyer and Johnson & Johnson
                 (Canada), Inc. (" J&J Canada") in the United States and
                 Canada."

   4.    The first sentence of Section 3(a) is hereby deleted in its entirety and
   replaced with the following:

                "Subject to the provisions of Section 3(c) hereof, Buyer shall purchase
                from Seller and shall cause J&J Canada to purchase from Seller (i)
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                 not Jess than 98% of the Talc requirements of Buyer and J&J Canada
                 in the years 1997 and 1998 for products sold by Buyer and J&J
                 Canada in the United StaJes and Canada and (ii) not less than 90% of
                 the Talc requirements of Buyer and J&J Canada in the years 1999,
                 2000 and 2001 (unless this Agreement is earlier terminated in
                 accordance with the terms hereof) for products sold by Buyer and J&J
                 Canada in the United States and Canada."

    5.    Section 3(c)(ii) is hereby deleted in its entirely and replaced with the following:

                 "During the term of this Agreement from January 1, 1999 through and
                 until December 31, 2001 (or the earlier termination of this Agreement
                 in accordance with the terms hereof) , Buyer shall have the right to
                 purchase up to 10% of Buyer's United States and Canada cosmetic
                 talc requirements from a supplier other than Seller, which supplier
                 has qualified its ore source with Buyer in accordance with the
                 provisions of Section 6 (a) hereof."

   6.     Section 4 is deleted in its entirety and replaced with the following:

                 "The price which Buyer shall pay to Seller for the Talc purchased by
                 Buyer during the Additional Term shall be as follows:

          Date of Shipment of Talc                         Price Per Metric Ton

          Calendar Year 1997                                      US$390.
          Calendar Year 1998                                      US$335.
          Calendar Year 1999                                      US$260.
          Calendar Years 2000 & 2001                              US$260


   7.     In the event of any conflict or inconsistency between the provisions of this
   Amendment and the provisions of the Agreement with respect to the matters set
   forth herein, the terms of this Amendment shall control. All references to the
   Agreement in any other agreement or document shall hereafter be deemed to refer
   to the Agreement as hereby amended. Except as expressly set forth herein, the
   terms and conditions of the Agreement are hereby ratified and confirmed in all
   respects and shall remain in full force and effect in accordance with the terms
   thereof.



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           IN WITNESS WHEREOF, the parties hereto have caused this Amendment
    to be duly executed and delivered as of the date first above written.


    RTZ AMERICA, INC.                  JOHNSON & JOHNSON
                                           CONSUMER PRODUCTS, INC.


    By:     'IJ~-+-)-
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                 EXHIBIT 11
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                                                                         June 15, 2000

    Ms. Karen A. Pfirrman                                                        Sent by Fax
    Purchasing Manager                                                           & by Courier
    Johnson & Johnson
    Consumer Products Company
    P.O. Box 587
    545 Old Elbert Road
    Royston, Georgia 30662

    (Phone: 706-245-2042)

    Dear Karen:

    Reference is made to the Amendment Agreement dated as of December 31 ,
    1996 to the Talc Supply Agreement dated as of January 6, 1989 between
    Johnson & Johnson Consumer Products, Inc. and RTZ America, Inc.

    Pursuant to Section 3 of that Amendment Agreement, this letter is to advise you
    that, we, the Seller have decided to terminate the term of this Amendment
    Agreement as of the end of calendar year 2000.

    As we discussed by phone, thereafter, for calendar year 2001, Luzenac America
    would be pleased to continue to supply to Johnson & Johnson talc of the type
    and specification set out in the Talc Supply Agreement at a price of US $285 per
    metric ton, or US$25 per metric ton higher than the currently prevailing price.

    We regret having to take this position. We appreciate the opportunity to work
    with you in a continued spirit of cooperation to seek a long term arrangement
    which will be satisfactory to both of our companies.

    Sincerely,



    Richard J. Meli
    President

    CC: Director of Procurement, J &J Baby Products Company, c/o Johnson & Johnson Consumer
           Products, Inc., 501 George Street, New Brunswick, NJ 08903, sent by Registered Mail
         General Counsel, Johnson & Johnson, One Johnson & Johnson Plaza, New Brunswick, NJ
           08933, sent by Registered Mail
         Andre Talman - Luzenac Group
         Jack Buettner- Luzenac America
         Steve Mauney- Luzenac America
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    J &J Baby Products Company
    c/o Johnson & Johnson Consumer Products, Inc.
    501 George Street, New Brunswick, NJ 08903

    Attn: Director of Procurement,


    Johnson & Johnson
    One Johnson & Johnson Plaza
    New Brunswick, NJ 08933

    Attn: General Counsel
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                   EXHIBIT 12
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      IM ERYS
   une 23, 2015



  VIA FEDERAL EXPRESS

  J&J Baby Products Company                                    J&J Baby Products Company
  c/o Johnson & Johnson Consumer Products,                     c/o Johnson & Johnson Consumer Products,
  Inc.                                                         Inc.
  501 George Street                                            501 George Street
  New Brunswick, New Jersey 08903                              New Brunswick, New Jersey 08903
  Attn: Director of Procurement                                Attn: Vice President - Finance


          Re:        Indemnification Demand Notice for Ovarian Cancer Lawsuits


  Dear Sir/Madam:

          I write to notify Johnson & Johnson; Johnson & Johnson Baby Products Company, a
  division of Johnson & Johnson Consumer Products, Inc.; and Johnson & Johnson Consumer
  Companies, Inc. (collectively "J&J") oflmerys Talc America, Inc.'s f/k/a Luzenac America, Inc.
  ("Imerys") demand for indemnification pursuant to various talc supply and material purchase
  agreements with J&J (the "Agreements"), as well as by operation of law.

           Specifically, the 1989 Talc Supply Agreement between J&J and Windsor Minerals, Inc.
  provides that J&J "shall indemnify, defend and hold harmless [Windsor Minerals], and its
  affiliates, and each of their respective directors, officers, employees, and agents from and against
  all liabilities arising out of any product liability-based claim, suit, demand or cause of action
  directed against [Windsor Minerals] or any of [Windsor Minerals'] affiliates: (i) arising out of
  the sale of cosmetic talc products to consumer markets, which products were manufactured by
  [Windsor Minerals] prior to [January 6, 1989]; or (ii) for which [J&J] is directly or-indirectly·
  responsible as a result of [J&J's] possession, use or processing of Talc delivered to [J&J]
  pursuant to this Agreement, or as a result of [J&J's] manufacture, shipment and sale of Talc-
  containing product (including without limitation, baby powder and adult powder) derived from
  Talc delivered to [J&J] pursuant to this Agreement ... The provisions of this Section 11 survive
  termination or expiration of this Agreement." (1989 Talc Supply Agreement, § 11.)

          Also in 1989, J&J sold the stock of Windsor Minerals, Inc. to Cyprus Mines Corporation
  ("Cyprus") pursuant to a Stock Purchase Agreement (the "SP A"). The 1989 SP A requires J &J to
  indemnify Cyprus against any "product liability-based claim, suit, demand or cause of action
  directed against Cyprus, Windsor or Western or any of their affiliates arising out of the sale of
  talc or talc-containing products manufactured by Windsor, Western, J&J or the affiliates of
  Windsor, Western or J&J, prior to Closing ... J&J's obligation of indemnification ... shall
  survive the Closing forever." (1989 SPA, §11.2.) In or around 1992, Cyprus sold its U.S. talc
  operations to RTZ America, Inc., a subsidiary of the Rio Tinto Group, which subsequently
  changed the name of its U.S. talc operations from Cyprus to Luzenac America, Inc. ("Luzenac").



      100 Mansell Court East, Suite 300, Roswell, GA 30076
      Tel: 770-645-3300 - Fax: 770-645-3475 - www.imerys.com
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          In addition, the 2011 Material Purchase Agreement between J&J and Luzenac provides
  that J&J "shall indemnify, defend and hold harmless [Luzenac] for any third party claims
  brought against [Luzenac] based on the use of Materials by [J&J]." (2011 Material Purchase
  Agreement, 1 6.) On August 1, 2011, Rio Tinto America, Inc. sold the stock of the talc
  operations of the Rio Tinto Group to Mircal SA, which later changed the name from Luzenac to
  Imerys Talc America, Inc.

          As you know, since 2009, numerous lawsuits have been filed against Imerys Talc
  America, Inc. f/k/a Luzenac America, Inc. in various jurisdictions alleging bodily injury as a
  result of long-term use of certain talc-based body powders manufactured by J&J with talc
  delivered by Imerys/Luzenac in accordance with the Agreements with J&J (the "Talc
  Lawsuits").

          In light of the allegations contained in the Talc Lawsuits, this letter is to notify you that
  J&J is obligated under the Agreements and/or principles of implied contract and/or implied
  indemnity to indemnify, defend, and hold harmless Imerys with respect to the liabilities resulting
  from the Talc Lawsuits including, but not limited to, legal defense costs and reasonable attorney
  fees incurred in defending the Talc Lawsuits.

          Please confirm in writing no later than ten (10) business days that J&J will comply with
  its indemnification obligations. Once I receive such confirmation, I will forward invoices for
  legal fees incurred to date for reimbursement and will continue to forward invoices for legal fees
  incmTed by Imerys' counsel in defending ongoing or subsequent Talc Lawsuits.


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                                                Vic resj,dent & General Counsel, North America
                                                Imerys Talc America, Inc.


  cc: Johnson & Johnson
      One Johnson & Johnson Plaza
      New Brunswick, New Jersey 08933
      Attn: General Counsel

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